Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 1 of 66 PageID #:4




                              EXHIBIT 1
2021CH02090
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               Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 2 of 66 PageID #:5
DATE:
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Return Date: No return date scheduled
Hearing Date: 8/27/2021 9:30 AM - 9:30 AM
Courtroom Number: 2502
Location: District 1 Court                                                                              FILED
         Cook County, IL                                                                                4/29/2021 3:53 PM
                                                                                                        IRIS Y. MARTINEZ
                                                                                                        CIRCUIT CLERK
                                                                                                        COOK COUNTY, IL
                                                                                                        2021CH02090

                                                                                                  13145378
              2120 - Served                    2121 - Served              2620 - Sec. of State
              2220 - Not Served                2221 - Not Served          2621 - Alias Sec of State
              2320 - Served By Mail            2321 - Served By Mail
              2420 - Served By Publication     2421 - Served By Publication
              Summons - Alias Summons                                                  (03/15/21) CCG 0001 A

                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

              Name all Parties

              Joann Liu


                                                       Plaintiff(s)
                                      V.                                          2021CH02090
                                                                       Case No.
              MRS BPO, L.L.C.


                                                     Defendant(s)
              c/o Cogency Global Inc., 600 South Second St.,
              STE 404, Springfield, IL 62704

                                      Address of Defendant(s)
              Please serve as follows (check one):    C Certified Mail        Sheriff Service n Alias
                                                            SUMMONS
              To each Defendant:
              You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
              You are summoned and required to file your appearance, in the office of the clerk of this court,
              within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
              judgment by default may be entered against you for the relief asked in the complaint.
                                   THERE IS A FEE TO FILE YOUR APPEARANCE.
              FILING AN APPEARANCE: Your appearance date is NOT a court date. It is the deadline
              for filing your appearance/answer. To file your appearance/answer YOU DO NOT NEED
              TO COME TO THE COURTHOUSE, unless you are unable to eFile your appearance/
              answer. You can download an Appearance form at http://www.illinoiscourts.gov/Forms/
              approved/procedures/appearance.asp. After completing and saving your Appearance form, you can
              electronically file (e-File) it with the circuit clerk's office.

                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                 cookcountyclerkofcourt.org
                                                                Page 1 of 3
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     Summons - Alias Summons                                                                                  (03/15/21) CCG 0001 B
     E-FILING: E-filing is now mandatory with limited exemptions. To e-File, you must first create an account with
     an e-Filing service provider. Visit http://efileillinoiscourts.gov/ service-providers.htm to learn more and to select a
     service provider.
     If you need additional help or have trouble e-Filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
     your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
     person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
     FEE WAIVER: If you are unable to pay your court fees, you can apply for a fee waiver. For information about
     defending yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
     wwwillinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
     COURT DATE: Your court date will be sent to your e-File email account or the email address you provided to
     the clerk's office. You can also call or email the clerk's office to request your next court date. You will need to
     provide your case number OR, if unknown, the name of the Plaintiff or Defendant. For criminal case types, you
     will also need to provide the Defendant's birthdate.
     REMOTE APPEARANCE: You may be able to attend this court date by phone or video conference.
     This is called a "Remote Appearance". Call the Circuit Clerk at (312) 603-5030 or visit their website at www.
     cookcountyclerkofcourt.org to find out how to do this.
     Contact information for each of the Clerk's Office locations is included with this summons. The Clerk's office is
     open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
     To the officer: (Sheriff Service)
     This summons must be returned by the officer or other person to whom it was given for service, with endorsement
     of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
     endorsed. This summons may not be served later than thirty (30) days after its date.

       Atty. No.: 41106
                                                                                        4/29/2021 3:53 PM IRIS Y. MARTINEZ
                                                                     Witness date
     r Pro Se 99500
     Name: Daniel A. Edelman
     Atty. for (if applicable):                                                      Iris                        k of Court
     Plaintiff                                                      D Service by Cent
     Address: 20 S Clark St Suite 1500                              D Date of Service:
                                                                        (To be inserted by officer on copy left with employer or other person)
     City: C hicago
     State:   IL     zip: 60603

     Telephone: 312 739 4200
     Primary Email: courteci@edcombs.com




                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                 cookcountyclerkofcourt.org
                                                              Page 2 of 3
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                       GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
appropriate division, district or department to request your next court date. Email your case number, or, if you do
not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
and birthdate for a criminal case.


            CHANCERY DIVISION                                          ALL SUBURBAN CASE TYPES
Court date EMAIL: ChanCourtDate@cookcountycourt.com                        DISTRICT 2- SKOKIE
Gen. Info: (312) 603-5133                                     Court date EMAIL: D2CourtDate@cookcountycourt.com
                CIVIL DIVISION                                Gen. Info: (847) 470-7250
Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3- ROLLING MEADOWS
Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
              COUNTY DIVISION                                Gen. Info: (847) 818-3000
Court date EMAIL: CntyCourtDate,,,,rfikookcountycourt.com                DISTRICT 4- MAYWOOD
Gen. Info: (312) 603-5710                                     Court date EMAIL: D4CourtDate@cookcountycourt.com
 DOMESTIC RELATIONS/CHILD SUPPORT                             Gen. Info: (708) 865-6040
                 DIVISION                                               DISTRICT 5- BRIDGEVIEW
Court date EMAIL: DRCourtDate@cookcountycourt.com             Court date EMAIL: D5CourtDate@cookcountycourt.com
                  OR
                  ChildSupCourtDate@cookcountycourt.com
                                                              Gen. Info: (708) 974-6500
Gen. Info:   (312) 603-6300                                              DISTRICT 6- MARKHAM

            DOMESTIC VIOLENCE                                 Court date EMAIL: D6CourtDate@cookcountycourt.com
Court date EMAIL: DVCourtDate@cookcountycourt.com             Gen. Info: (708) 232-4551
Gen. Info: (312) 325-9500

                 LAW DIVISION
Court date EMAIL: LawCourtDate@cookcountycourt.com
Gen. Info: (312) 603-5426

             PROBATE DIVISION
Court date EMAIL: ProbCourtDate@cookcountycourt.com
Gen. Info: (312) 603-6441




                     Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                                                                                                         IRIS Y. MARTINEZ
                                                                                                                         CIRCUIT CLERK
                                                                                                                         COOK COUNTY, IL
                                                                                                                          2021U-102090
                                                                                                                          13145378
      Chancery Division Civil Cover Sheet
      General Chancery Section                                                                                            (12/01/20) CCCH 0623

                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                COUNTY DEPARTMENT, CHANCERY DIVISION

      Joann Liu
                                                                  Plaintiff
                                        V.                                    Case No:
      MRS BPO, L.L.C.
                                                                Defendant

                                                 CHANCERY DIVISION CIVIL COVER SHEET
                                                     GENERAL CHANCERY SECTION
      A Chancery Division Civil Cover Sheet - General Chancery Section shall be filed with the initial complaint in all actions filed in the General
      Chancery Section of Chancery Division. The information contained herein is for administrative purposes only. Please check the box in
      front of the appropriate category which best characterizes your action being filed.
      Only one (1) case type may be checked with this cover sheet.

      0005    E    Administrative Review                                      0017 3 Mandamus
      0001    Z    Class Action                                               0018 13 Ne Exeat
      0002    II   Declaratory Judgment                                       0019 3 Partition
      0004    E    Injunction                                                 0020 E Quiet Title
                                                                              0021 3 Quo Warrant°
      0007    3    General Chancery                                           00/9 E Redemption Rights
      0010    El   Accounting                                                 0023 E Reformation of a Contract
      0011    3    Arbitration                                                0024 3 Rescission of a Contract
      0012    3    Certiorari                                                 0025 E Specific Performance
      0013    3    Dissolution of Corporation                                 0026 E Trust Construction
      0014    E    Dissolution of Partnership                                 0050 El Internet Take Down Action (Compromising Images)
      0015    3    Equitable Lien
      0016    3    Interpleader                                                        E   Other (specify)


         Any. No.: 41106                        Pro Se 99500
                                                                              Pro Se Only:    El t have read and agree to the terms of the Clerk's
      Atty Name: Daniel A,. Edelman                                                              Clerk's Office Electronic Notice Policy and
                                                                                                 choose to opt in to electronic notice from the
      Atty. for: Plaintiff                                                                       Clerk's office for this case at this email address:
      Address: 20 S Clark St, Suite 1500
                                                                              Email:
      City: Chicago                                State: IL

      Zip: 60603

      Telephone: 312 739 4200
      Primary Email: courtecl@edcombs.com

                                       Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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   Hearing Date:   Case:   1:21-cv-02919
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  Location: District 1 Court                                                                                IRIS Y. MARTINEZ
           Cook County, IL                                                                                  CIRCUIT CLERK
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                                                                                                            2021CH02090
              Atty. No. 41106
                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                COUNTY DEPARTMENT, CHANCERY DIVISION

              JOANN LIU,
              on behalf of Plaintiff and a class,

                                       Plaintiff,

                       VS.
                                                                            2021CH02090

              MRS BPO, L.L.C.,

                                       Defendant.

                                                COMPLAINT — CLASS ACTION

                                                        INTRODUCTION

                        1.     Plaintiff Joann Liu brings this action to secure redress regarding unlawful

              collection practices engaged in by Defendant MRS BPO, L.L.C. Plaintiff alleges violation of the Fair

              Debt Collection Practices Act, 15 U.S.C. §1692 et seq. ("FDCPA").

                                                    JURISDICTION AND VENUE

                        2.     Jurisdiction of this Court arises under 15 U.S.C. §1692k(d).

                        3.     Personal jurisdiction in Illinois is proper because Defendant's collection letters were

              sent into Illinois.

                        4.     Venue in Cook County is proper under 735 ILCS 5/2-102.

                                                              PARTIES

                                                               Plaintiff

                        5.     PlaintiffJoann Liu is a natural person residing in Lombard, Illinois.

                                                              Defendant

                        6.     Defendant MRS BPO, L.L.C. is a limited liability company organized under the law of

              Newiersey with its principal office at 1930 Olney Avenue, Cherry Hill, NJ 08003. It does business in

              Illinois. Its registered agent and office is Cogency Global Inc., 600 South Second St., Suite 404,


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              Springfield, IL 62704.

                      7.      Defendant MRS BPO, L.L.C. is engaged in the sole or principal business of a collection

              agency, collecting consumer debts and using the mails and telephone system for that purpose.

                      8.      Upon information and belief, almost all of Defendant MRS BPO, L.L.C.'s resources

              are devoted to debt collection.

                      9.      Upon information and belief, almost all of Defendant MRS BPO, L.L.C.'s revenue is

              derived from debt collection.

                      10.     Upon information and belief, almost all of Defendant MRS BPO, L.L.C.'s expenses

              are related to debt collection.

                      11.     Defendant MRS BPO, L.L.C. is a debt collector as defined by the FDCPA, 15 U.S.C.

              §1692a(6), as a person who uses one or more instrumentalities of interstate commerce or the mails

              in any business the principal purpose of which is the collection of any debts.

                                                   FACTUAL ALLEGATIONS

                      12.     This action arises out of Defendant's attempts to collect a credit card debt

              incurred for personal, family or household purposes.

                      13.     On or about October 4, 2020, Defendant MRS BPO, L.L.C. caused a letter vendor

              to send Plaintiff the letter in Exhibit A.

                      14.     On or about November 20, 2020, Defendant MRS BPO, L.L.C. caused a letter

              vendor to send Plaintiff the letter in Exhibit B.

                      15.     On or about December 10, 2020, Defendant MRS BPO, L.L.C. caused a letter

              vendor to send Plaintiff the letter in Exhibit C.

                      16.     On or about December 31, 2020, Defendant MRS BPO, L.L.C. caused a letter

              vendor to send Plaintiff the letter in Exhibit D.

                      17.     On or about January 21,2021, Defendant MRS BPO, L.L.C. caused a letter vendor



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              to send Plaintiff the letter in Exhibit E.

                      18.     On or about February 8, 2021, Defendant MRS BPO, L.L.C. caused a letter vendor

              to send Plaintiff the letter in Exhibit F.

                      19.     On or about February 25,2021, Defendant MRS BPO, L.L.C. caused a letter vendor

              to send Plaintiff the letter in Exhibit G.

                      20.     The letters bear markings that are characteristic of one generated by a letter

              vendor. In addition, public court filings indicate that MRS BPO, L.L.C. uses a letter vendor.

                      21.     In order to have the letter vendor send Plaintiff the letters in Exhibits A-G,

              Defendant had to furnish the letter vendor with Plaintiff's name and address, the status of Plaintiff

              as a debtor, details of Plaintiff's alleged debt, and other personal information.

                      22.     The letter vendor then populated some or all of this information into a prewritten

              template, printed, and mailed the letters to Plaintiff.

                      23.     The FDCPA defines "communication" at 15 U.S.C. § 1692a(3) as "the conveying

              of information regarding a debt directly or indirectly to any person through any medium."

                      24.     The sending of an electronic file containing information about Plaintiff's

              purported debt to a letter vendor is therefore a communication.

                      25.     Defendant's communication to the letter vendor was in connection with the

              collection of a debt since it involved disclosure of the debt to a third-party with the objective being

              communication with and motivation of the consumer to pay the alleged debt.

                      26.     Plaintiff never consented to having Plaintiff's personal and confidential

              information, concerning the debt or otherwise, shared with anyone else.

                      27.      In limiting disclosures to third parties, the FDCPA states, at 15 U.S.C. §1692c(b):

              "Except as provided in section 1692b of this title, without the prior consent of the consumer given

              directly to the debt collector, or the express permission of a court of competent jurisdiction, or as



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              reasonably necessary to effectuate a post judgment judicial remedy, a debt collector may not

              communicate, in connection with the collection of any debt, with any person other than the

              consumer, his attorney, a consumer reporting agency if otherwise permitted by law, the creditor, the

              attorney of the creditor, or the attorney of the debt collector."

                      28.     The letter vendor used by Defendant as part of its debt collection effort against

              Plaintiff does not fall within any permitted exception provided for in 15 U.S.C. §1692c(b).

                      29.      Due to Defendant's communication to this letter vendor, information about

              Plaintiff is within the possession of an unauthorized third-party.

                      30.     If a debt collector "conveys information regarding the debt to a third party --

              informs the third party that the debt exists or provides information about the details of the debt --

              then the debtor may well be harmed by the spread of this information." Brown v. Van Rn Credit Coe.,

              804 F.3d 740,743 (6th Cir. 2015).

                      31.     Defendant unlawfully communicates with the unauthorized third-party letter

              vendor solely for the purpose of streamlining its generation of profits without regard to the

              propriety and privacy of the information which it discloses to such third-party.

                      32.     In its reckless pursuit of a business advantage, Defendant disregarded the known,

              negative effect that disclosing personal information to an unauthorized third-party has on

              consumers.

                                                      COUNT I — FDCPA

                      33.     Plaintiff incorporates paragraphs 1-32.

                      34.     Defendant violated 15 U.S.C. §1692c(b) when it disclosed information about

              Plaintiff's purported debt to the employees of an unauthorized third-party letter vendor in

              connection with the collection of the debt.

                      35.     Defendant violated 15 U.S.C. §1692f by using unfair means in connection with



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              the collection of a debt — disclosing personal information about Plaintiff to third parties not

              expressly authorized under the FDCPA.

                                                      CLASS ALLEGATIONS

                         36.   Plaintiff brings this action on behalf of a class.

                         37.   The class consists of (a) all individuals in Illinois (b) with respect to whom

              Defendant had a letter prepared and sent by a letter vendor (c) which letter was sent at any time

              during a period beginning one year prior to the filing of this action and ending 30 days after the

              filing of this action.

                         38.   Plaintiff may alter the class definition to conform to developments in the case and

              discovery.

                         39.   On information and belief, based on the size of Defendant's business operations and

              the use of form letters, there are more than 40 members of the class, and the class is so numerous

              that joinder of all members is not practicable.

                         40.   There are questions of law and fact common to the class members, which

              common questions predominate over any questions relating to individual class members. The

              predominant common questions are whether Defendant's practice as described above violates the

              FDCPA.

                         41.   Plaintiff will fairly and adequately represent the class members. Plaintiff has

              retained counsel experienced in class actions and FDCPA litigation. Plaintiff's claim is typical of the

              claims of the class members. All are based on the same factual and legal theories.

                         42.   A class action is appropriate for the fair and efficient adjudication of this matter,

              in that:
                               a.      Individual actions are not economically feasible.

                               b.      Members of the class are likely to be unaware of their rights;



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                             c.        Congress intended class actions to be the principal enforcement mechanism

                                       under the FDCPA.

                     WHEREFORE, the Court should enter judgment in favor of Plaintiff and the dass and

              against Defendant for:

                                       i.     Statutory damages;

                                       ii.    Attorney's fees, litigation expenses and costs of suit;

                                       iii.   Such other and further relief as the Court deems proper.



                                                              I s/ Daniel A. Edelman
                                                              Daniel A. Edelman


              Daniel A. Edelman (ARDC 0712094)
              Dulijaza (Julie) Clark (ARDC 6273353)
              Samuel Park (ARDC 6333176)
              EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
              20 South Clark Street, Suite 1500
              Chicago, IL 60603-1824
              (312) 739-4200
              (312) 419-0379 (FAX)
              Email address for service: courtecl@edcombs.com




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                                                                                                                                    MRS Associates of New Jersey
                                                                                                                                    1930 OLNEY AVENUE
         Ir"1\4191t1                                                                                                                CHERRY HILL NJ 08003
         S-SFMRSA11                                                                                                                 888-274-9871
         PCVSNT00314169 - 637540455128338                                                                                           Office Hours;
         Return Address:                                                                                                            Monday - Thursday 9am - 9pm ET
         MRS BPO, L.L.C.                                                                                                            Friday             9am - 5pm ET
         1930 OLNEY AVENUE
         CHERRY HILL NJ 08003




                 JOANN K LIU
                                                                                                       October 4, 2020

                                                                                                           CREDITOR:
                                                                                                        CREDITOR ACCTif:
                                                                                                          MRS ACCTit: imelow
                                                                                                         BALANCE DUE:

          Dear JOANN K LIU,
          The above referenced creditor has placed your account with our office for collection. We recognize that sometimes circumstances or events can
          make it difficult to satisfy your financial obligations. Resolving an overdue debt is never easy. Often the hardest part is taking the first step. We
          are ready to assist you to find a solution that is both fair and reasonable by presenting two options that will enable you to resolve your balance
          with

                                                            GLEPAYME                        NIONTHLYRAYMENTS PLAN

                                                  Make a ONE-TIME payment of             Can't make a settlement right now?
                                                    S2,124.15 by 11/19/2020              We can work with you on a payment
                                                     to resolve your account               plan for the full balance of your
                                                                                                       account.


                                                 If you need additional time to respond to these offers, please contact us.
                                                               We are not obligated to renew these offers.
                          Ready to make a payment, or have a question for us? Choose from any of our available payment or contact

                                  Pay via the Web                                Pay by Phone                               Pay by Mail
                                  https://portal.mrsbpo.com                      888-274-9871                               MRS BPO, LLC
                                                                                                                            1930 Olney Avenue,
                                                                                                                            Cherry Hill, NJ 08003

                                                                   IMPORTANT CONSUMER INFORMATION
          Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion thereof, this office will
          assume this debt is valid. If you notify this office in writing within 30 days after receiving this notice that you dispute the validity of this debt or any
          portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If
          you request of this office in writing within 30 days after receiving this notice, this office will provide you with the name and address of the original
          creditor, if different from the current creditor.
          Sincerely,
          MRS Associates of New Jersey
          888-274-9871
          MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
          Letter ID:
                                     This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                               This communication is from a debt collector.




                       MRS ASSOCIATES OF NEW JERSEY I 1930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 888-274-9871
                               OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 14 of 66 PageID #:17
                                                          FILED DATE: 4/29/2021 3:53 PM 2021CH02090
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            F,V 4}N247,mti                                                                                                    MRS Associates of New Jersey

            OrevitirMA
                                                                                                                              1930 OLNEY AVENUE
                                                                                                                              CHERRYHILL NJ 08003         -
         S SFMRSA11                                                                                                           833-924-1978
         P0538000313689 - 644483801 127378                                                                                    Office Hours:
         Return Address:                                                                                                      Monday - Thursday 9arn - 9pm ET
         MRS BPO, L.L.C.                                                                                                      Friday             9am - 5pm ET
         1930 OLNEY AVENUE
         CHERRY HILL NJ 08003


                                                                                                  November 20, 2020


                JOANN K LIU                                                                          CREDITOR:
                                                                                                   CREDITOR ACCT#:
                                                                                                     MRS ACCT#:




          Dear JOANN K LIU,

          We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
          833-924-1978. -We look forward to the opportunity to assist you with resolving your account.


                             'SINGLE PAYMENT                            NEED .MORE TIME?                          MONTHLY PAYMENTS


                         Make a ONE-TIME payment of              Make TWO PAYMENTS of $807.16              Can't make a settlement right now?
                           $1,189.50 by 12/08/2020                           as follows:                   We can work with you on a payment
                            to resolve your account                  Payment 1 by 12/08/2020                 plan for the full balance of your
                                                                      Payment 2 by 01/08/2021                            account.
                                                                      to resolve your account

                                              If you need additional time to respond to these offers, please contact us.
                                                            We are not obligated to renew these offers.

                         Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                                Pay via the Web
                                https://portal.mrsbpo.com
                                                                             Pay by Phone
                                                                             833-924-1978                  GD          Pay by Mail
                                                                                                                       MRS BPO, LLC
                                                                                                                       1930 Olney Avenue,
                                                                                                                       Cherry Hill, NJ 08003

          Sincerely,
          MRS Associates of New Jersey
          833-924-1978
          MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
          Letter ID: LU4.5350017.18182589

                                   This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                             This communication is from a debt collector.




                       MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
                               OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 16 of 66 PageID #:19
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                                                                                                                                                                                        1930 OLNEY AVENUE
                                                                                                                                                                                        CHERRY HILL NJ 08003
S-SFMRSA1 1                                                                                                                                                                             833-924-1978
PD8VM.100317169 -64858844434338                                                                                                                                                         Office Hours:
Return Address:                                                                                                                                                                         Monday - Thursday 9arn - 9pm ET
MRS BPO, L.L.C.                                                                                                                                                                         Friday             9am - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003


                                                                                                                                            December 10, 2020
       111111111111'ill
       JOANN K LIU                                                                                                                         -7171EDEI
                                                                                                                                            CREDITOR ACCT#:
                                                                                                                                               MRS ACCT#:
                                                                                                                                              BALANCE DUE:                       NMI



 Dear JOANN K LIU,

 We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
 833-924-1978. We look forward to the opportunity to assist you with resolving your account.


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                    Make a ONE-TIME payment of                                        Make TWO PAYMENTS of $764.68                                         Can't make a settlement right now?
                      $1,104.54 by 12/29/2020                                                     as follows:                                              We can work with you on a payment
                       to resolve your account                                            Payment 1 by 12/29/2020                                            plan for the lull balance of your
                                                                                           Payment 2 by 01/29/2021                                                       account.
                                                                                           to resolve your account

                                                        II you need additional time to respond to these offers, please contact us.
                                                                      We are not obligated to renew these offers.

                    Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                                 Pay via the Web                                                          Pay by Phone                                                       Pay by Mall
                                 https://portal.mrsbpo.com                                                833-924-1978                                                       MRS BPO, LLC
                                                                                                                                                                             1930 Olney Avenue,
                                                                                                                                                                             Cherry Hill, NJ 08003

 Sincerely,
 MRS Associates of New Jersey
 833-924-1978
 MRS Associates of New Jersey is a trade name of MRS BPO,
 Letter ID: LU4.5350017.18332107
                                      This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                                This communication Is from a debt collector.
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         S-SFMRSA11
         P0CX1000412114 - 648785541124228                                                                                                                             Office Hours:
         Return Address:                                                                                                                                              Monday - Thursday 9am - 9pm ET
         MRS BPO, L.L.C.                                                                                                                                              Friday             9am - 5pm ET
         1930 OLNEY AVENUE
         CHERRY HILL NJ 08003


                                                                                                                                        December 31, 2020
                 111111111111111111111'111""111111111+111111"1119111111111
                 JOANN K LIU




          Dear JOANN K LIU,

          We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
          833-924-1978. We look forward to the opportunity to assist you with resolving your account.


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                             Make a ONE-TIME payment of                                          Make TWO PAYMENTS of $679.72                     Can't make a settlement right now?
                                $934.62 by 01/15/2021                                                        as follows:                          We can work with ycu on a payment
                                to resolve your account                                              Payment 1 by 01/15/2021                        plan for the full balance of your
                                                                                                      Payment 2 by 02/15/2021                                   account.
                                                                                                      to resolve your account

                                                                     If you need additional time to respond to these offers, please contact us.
                                                                                   We are not obligated to renew these offers.

                             Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.




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                                            Pay via the Web                                                    Pay by Phone                                   Pay by Mail
                                            https://portal.mrsbpo.com                                          833-924-1978                                   MRS BPO, LLC
                                                                                                                                                              1930 Olney Avenue,
                                                                                                                                                              Cherry Hill, NJ 08003

          Sincerely,
          MRS Associates of New Jersey
          833-924-1978
          MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
          Letter ID: L1J4.5350017.18493050

                                                 This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                                           This communication is from a debt collector.




                       MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
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              P0H3X100219149 - 651120562 138238                                                                                                                                                                          Office Hours:
              Return Address:                                                                                                                                                                                            Monday- Thursday 9arn - 9pm ET
              MRS BPO, L.L.C.                                                                                                                                                                                            Friday             Sam - 5pm ET
              1930 OLNEY AVENUE
              CHERRY HILL NJ 08003


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               Dear JOANN K LIU,

               We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please cat
               833-924-1978. We look forward to the opportunity to assist you with resolving your account.

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                                    Make a ONE-TIME payment of                                                              Make TWO PAYMENTS of $785.92                                              Can't make a settlement right now?
                                      $1,147.02 by 02/05/2021                                                                           as follows:                                                   We can work with you on a payment
                                       to resolve your account                                                                   Payment 1 by 02/05/2021                                                plan for the full balance of your
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                                                                                    If you need additional time to respond to these offers, please contact us.
                                                                                                  We are not obligated to renew these offers.

                                    Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                                                     Pay via the Web                                                                                Pay by Phone                                                 Pay by Mail
                                                     https://portal.mrsbpo.com                                                                      833-924-1978                                                 mns BPO, LLC
                                                                                                                                                                                                                 1930 Olney Avenue,
                                                                                                                                                                                                                 Cherry Hill, NJ 08003

               Sincerely,
               MRS Associates of New Jersey                                                                                                                                                            Tax time is a great time to put issues like this
               833-924-1978                                                                                                                                                                            behind you. Consider using any possible tax I
               MRS Associates of New Jersey is a trade name of MRS 8P0, LL.C.                                                                                                                          refund you may receive to satisfy your I
               Letter ID: LU4.5350017.18619091                                                                                                                                                         outstanding obligation.

                                                           This is an attempt to collect a debt and any information obtained will be used for that purpose.
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                             MRS ASSOCIATES OF NEW JERSEY 1 1930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
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MRS BPO, L.L.C.                                                                                                           Friday             9am - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003


                                                                                         February 8,2021
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 Dear JOANN K LIU,

 We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
 833-924-1978. We look forward to the opportunity to assist you with resolving your account.


                    SINGLE PAYMENT                              NEED- MORE TIME?                          MONTHLY PAYMENTS               .


               Make a ONE-TIME payment of               Make TWO PAYMENTS of $700.96              Can't make a settlement right now?
                  $977.10 by 02124/2021                              as follows:                  We can work with you on a payment
                  to resolve your account                    Payment 1 by 02/24/2021                plan for the full balance of your
                                                             Payment 2 by 03/24/2021                            account.
                                                              to resolve your account

                                     If you need additional time to respond to these offers, please contact us.
                                                   We are not obligated to renew these offers.

               Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.




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                       Pay via the Web                              Pay by Phone                                 Pay by Mail
                       https://portaLmrsbpo.com                     833-924-1978                                 MRS BPO, LLC
                                                                                                                 1930 Olney Avenue,
                                                                                                                 Cherry Hill, NJ 08003

 Sincerely,
 MRS Associates of New Jersey                                                                       Tax time Is a great time to put issues like this
 833-924-1978                                                                                       behind you. Consider using any possible tax
 MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.                                    refund you may receive to satisfy your
 Letter ID: LU4.5350017.18748441                                                                    outstanding obligation.

                          This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                    This communication is from a debt collector.




              MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
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          PD04Y000319867 • 655954696139734                                                                                        Office Hours:
              Return Address:                                                                                                     Monday. Thursday 9arn • 9pm ET
              MRS BPO, L.L.C.                                                                                                     Friday             9am • 5pm ET
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               Dear JOANN K LIU,

              We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
              833-924-1978. We look forward to the opportunity to assist you with resolving your account.

                                ' SINGLE
                                   ,     PAYMENT                            NEED P/IORE TIME?                         MONTHLY ,PAYMENTS
                                                                                                                                 _

                            Make a ONE-TIME payment of               Make TWO PAYMENTS of $828.40              Can't make a settlement right now?
                              $1,231.98 by 03/12/2021                            as follows:                   We can work with you on a payment
                               to resolve your account                   Payment 1 by 03/12/2021                 plan for the full balance of your
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                                                                          to resolve your account

                                                  If you need additional lime to respond to these offers, please contact us.
                                                                We are not obligated to renew these offers.

                            Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                                    Pay via the Web                              Pay by Phone                       Pay by Mail
                                    https://portal.mrsbpo.com                    833-924-1978                  01.0 MRS BPO, LLC
                                                                                                                    1930 Olney Avenue,
                                                                                                                    Cherry Hill, NJ 08003
              Sincerely,
              MRS Associates of New Jersey                                                                       Tax time Is a great time to put Issues like this
              833-924-1978                                                                                       behind you. Consider using any possible tax
              MRS Associates of Now Jersey is a trade name of MRS BPO, L.L.C.                                    refund you may receive to satisfy your
              Letter ID: LU4.5350017.18850239                                                                    outstanding obligation.

                                       This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                                 This communication is from a debt collector.




                         MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 1833-924-1978
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              Atty. No. 41106
                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                COUNTY DEPARTMENT, CHANCERY DIVISION

              JOANN LIU,
              on behalf of Plaintiff and a class,

                                      Plaintiff,

                      VS.


              MRS BPO, L.L.C.,

                                       Defendant.

                                 PLAINTIFF'S MOTION FOR CLASS CERTIFICATION

                      Plaintiff„ respectfully requests that the Court order that this action, alleging violation of the

              Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq. ("FDCPA"), may proceed on behalf of a

              class against Defendant MRS BPO, L.L.C..

                      The class consists of (a) all individuals in Illinois (b) with respect to whom Defendant had a

              letter prepared and sent by a letter vendor (c) which letter was sent at any time during a period

              beginning one year prior to the filing of this action and ending 30 days after the filing of this action.

                      Plaintiff is required to file a motion for class certification with the Complaint, Ballard RN

              Center, Ina v. Koh//'s Pharmacy and Homecare, Inc, 2015 IL 118644, 48 N.E.3d 1060, and may request

              leave to supplement it later.

                      In support of this motion, Plaintiff states:

                                                    NATURE OF THE CASE

                      1.      Plaintiff is a natural person residing in Lombard, Illinois.

                      2.      Defendant MRS BPO, L.L.C. is a collection agency engaged in the business of

              collecting debts in Cook County and elsewhere.

                      3.      MRS BPO, L.L.C. is engaged in the sole or principal business of collecting consumer

              debts, using the mails and telephone system for that purpose.
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                      4.      Upon information and belief, almost all of Defendant MRS BPO, L.L.C.'s resources

              are devoted to debt collection.

                      5.      Upon information and belief, almost all of MRS BPO, L.L.C.'s revenues are derived

              from debt collection.

                      6.       Upon information and belief, almost all of MRS BPO, L.L.C.'s expenses are related

              to debt collection.

                      7.       MRS BPO, L.L.C. is a "debt collector" within the meaning of the FDCPA.

                      8.       On or about October 4, 2020, MRS BPO, L.L.C. caused a letter vendor to send

              Plaintiff the letter in Exhibit A.

                      9.       On or about November 20, 2020, Defendant MRS BPO, L.L.C. caused a letter

              vendor to send Plaintiff the letter in Exhibit B.

                      10.      On or about December 10, 2020, Defendant MRS BPO, L.L.C. caused a letter

              vendor to send Plaintiff the letter in Exhibit C.

                      11.      On or about December 31, 2020, Defendant MRS BPO, L.L.C. caused a letter

              vendor to send Plaintiff the letter in Exhibit D.

                      12.      On or about January 21,2021, Defendant MRS BPO, L.L.C. caused a letter vendor

              to send Plaintiff the letter in Exhibit E.

                      13.      On or about February 8,2021, Defendant MRS BPO, L.L.C. caused a letter vendor

              to send Plaintiff the letter in Exhibit F.

                      14.      On or about February 25, 2021, Defendant MRS BPO, L.L.C. caused a letter vendor

              to send Plaintiff the letter in Exhibit G.

                      15.      In order to have the letter vendor send Plaintiff the letters in Exhibit A-G,

              Defendant had to furnish the letter vendor with Plaintiff's name and address, the status of Plaintiff

              as a debtor, details of Plaintiff's alleged debt, and other personal information.

                      16.      The letter vendor then populated some or all of this information into a prewritten

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              template, printed, and mailed the letters to Plaintiff.

                      17.     The FDCPA defines "communication" at 15 U.S.C. § 1692a(3) as "the conveying

              of information regarding a debt directly or indirectly to any person through any medium."

                      18.     The sending of an electronic file containing information about Plaintiff's

              purported debt to a letter vendor is therefore a communication.

                      19.     MRS BPO, L.L.C.'s communication to the letter vendor was in connection with the

              collection of a debt since it involved disclosure of the debt to a third-party with the objective being

              communication with and motivation of the consumer to pay the alleged debt.

                      20.     Plaintiff never consented to having Plaintiff's personal and confidential

              information, concerning the debt or otherwise, shared with anyone else.

                      21.      In limiting disclosures to third parties, the FDCPA states, at 15 U.S.C. §1692c(b):

              "Except as provided in section 1692b of this title, without the prior consent of the consumer given

              directly to the debt collector, or the express permission of a court of competent jurisdiction, or as
              reasonably necessary to effectuate a post judgment judicial remedy, a debt collector may not

              communicate, in connection with the collection of any debt, with any person other than the

              consumer, his attorney, a consumer reporting agency if otherwise permitted by law, the creditor, the

              attorney of the creditor, or the attorney of the debt collector."

                      22.     The letter vendor used by MRS BPO, L.L.C. as part of its debt collection effort

              against Plaintiff does not fall within any permitted exception provided for in 15 U.S.C. §1692c(b).

                      23.      Due to MRS BPO, L.L.C.'s communication to this letter vendor, information about

              Plaintiff is within the possession of an unauthorized third-party.

                      24.     If a debt collector "conveys information regarding the debt to a third party --

              informs the third party that the debt exists or provides information about the details of the debt --

              then the debtor may well be harmed by the spread of this information." Brown v. Van RR Credit Coo.,
              804 F.3d 740,743 (6th Cir. 2015).

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                     25.     MRS BPO, L.L.C. unlawfully communicates with the unauthorized third-party letter

              vendor solely for the purpose of streamlining its generation of profits without regard to the

              propriety and privacy of the information which it discloses to such third-party.

                      26.    In its reckless pursuit of a business advantage, MRS BPO, L.L.C. disregarded the

              known, negative effect that disclosing personal information to an unauthorized third-party has on

              consumers.

                                  THE FAIR DEBT COLLECTION PRACTICES ACT

                      27.     The purpose of the FDCPA is "to eliminate abusive debt collection practices by

              debt collectors." 15 U.S.C. §1692(e). This law "is designed to protect consumers from

              unscrupulous collectors, regardless of the validity of the debt." Mace v. Van Rif Credit Corp., 109 F.3d

              338, 341 (7th Cir. 1997). The FDCPA broadly prohibits unfair or unconscionable collection

              methods; conduct which harasses, oppresses or abuses any debtor; and any false, deceptive or

              misleading statements in connection with the collection of a debt. It also requires debt collectors to

              give debtors certain information about alleged debts, and about their rights as consumers. 15 U.S.C.

              §§1692d, 1692e, 1692f and 1692g.

                      28.     In enacting the FDCPA, Congress recognized the "universal agreement among

              scholars, law enforcement officials, and even debt collectors that the number of persons who

              willfully refuse to pay just debts is minuscule.... [The] vast majority of consumers who obtain credit

              fully intend to repay their debts. When default occurs, it is nearly always due to an unforeseen event

              such as unemployment, overextension, serious illness, or marital difficulties or divorce." 95 S.Rep.

              382, at 3 (1977), reprinted in 1977 U.S.C.C.A.N. 1695, 1697,

                      29.     As noted in Ramire.t v. Apex Financial Management LLC, 567 F.Supp.2d 1035,

              1042 (N.D.M. 2008), "the FDCPA's legislative intent emphasizes the need to construe the statute

              broadly, so that we may protect consumers against debt collectors' harassing conduct. This intent

              cannot be underestimated." See Sonmore v. CheckRite Recoveg Services, Inc., 187 F.Supp.2d 1128, 1132

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              (D.Minn. 2001) (the FDCPA "is a remedial strict liability statute which was intended to be applied in

              a liberal manner"); Owens v. He&rah & Johnson PLLC, 550 F.Supp.2d 1060, 1063 (D.Minn. 2008)

              (same); and Rosenau v. Unffund Corp., 539 F.3d 218, 221 (3d Cir. 2008) (the FDCPA should be

              "[construed]... broadly, so as to effect its purpose").

                       30.     "Congress intended the Act to be enforced primarily by consumers...." Federal

              Trade Commission v. Shaffner, 626 F.2d 32,35 (7th Cir. 1980). The FDCPA encourages consumers to

              act as "private attorneys general" to enforce the public policies expressed therein. Crabill v. Trans

              Union, LLC, 259 F.3d 662, 666 (7th Cir. 2001); Baker v. G. C. Servs. Corp., 677 F.2d 775, 780 (9th Cir.

              1982).

                       31.     Courts hold that whether a debt collector's conduct violates the FDCPA should be

              judged from the standpoint of an "unsophisticated consumer," Turner y. J.V.D.B. & Associates, Inc.,

              330 F.3d 991, 995 (7th Cir. 2003), or "least sophisticated consumer," Clomon v. Jackson, 988 F.2d

              1314, 1318-19 (2nd Cir. 1993); Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1173 (11th Cir. 1985). The

              standard is an objective one — whether any particular consumer was misled is not an element of a

              cause of action. Bartlett v. Heibl, 128 F.3d 497, 499 (7th Cir. 1997). "The question is not whether

              the plaintiff was deceived or misled, but rather whether an unsophisticated consumer would have

              been misled." Beattie v. D.M. Collections, Inc., 754 F. Supp. 383, 392 (D. Del. 1991).

                       32.     Because it is part of the Consumer Credit Protection Act, 15 U.S.C. §§1601 et

              seq., the FDCPA should be liberally construed in favor of the consumer to effectuate its purposes.

              Cirkot v. Diversllied Fin. Services, In., 839 F.Supp. 941   D. Conn. 1993).
                       33.     Statutory damages are recoverable for violations, whether or not the consumer

              proves actual damages. Bartlett v. Heibl, 128 F.3d 497, 499 (7th Cir. 1997); Baker y. G. C. Servs.

              Corp., 677 F.2d 775, 780-81 (9th Cir. 1982); Woolfolk v. Van Rs, Credit Corp., 783 F. Supp. 724, 727

              and n. 3 (D. Conn. 1990); Cacace v. Lucas, 775 F. Supp. 502 (D. Conn. 1990); Riveria v. MAB

              Collections, Inc., 682 F. Supp. 174, 177 (W.D.N.Y. 1988); Kuhn v. Account Control Technol., 865 F. Supp.

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              1443, 1450 (D.Nev. 1994); In re Scrimpsher, 17 B.R. 999, 1016-7 (Bankr.N.D.N.Y. 1982).

                                      REQUIREMENTS FOR CLASS CERTIFICATION

                     34.      Section 2-801 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-801, states:

                     Prerequisites for the maintenance of a class action.

                     An action may be maintained as a class action in any court of this State and a party may sue or
                     be sued as a representative party of the class only if the court finds:

                      (1)     The class is so numerous that joinder of all members is impracticable.

                      (2)     There are questions of fact or law common to the class, which common questions
                              predominate over any questions affecting only individual members.

                      (3)     The representative parties will fairly and adequately protect the interest
                              of the class.

                      (4)     The class action is an appropriate method for the fair and efficient adjudication of the
                              controversy.

              Although the statute was modeled after Rule 23 of the Federal Rule of Civil Procedure, some

              differences exist between the two. Eshashi v. Hanlg Dawson Cadillac Co., 214111. App. 3d 995, 999, 574

              N.E.2d 760,762 (1st Dist. 1991).

                      35.     The class action determination is to be made as soon as practicable after the

              commencement of an action brought as a class action and before any consideration of the merits.

              735 ILCS 5/2-802. The circuit court has discretion as to whether an action may proceed as a class

              action. Haywood v. Stoetior Bank, 244 Ill. App. 3d 326, 328, 614 N.E.2d 461, 463 (1st Dist. 1993)

              (overturning the lower court's denial of class certification in a landlord-tenant case).

                      36.     Class actions are essential to enforce laws protecting consumers. As the court stated

              in Eshashi v. Hanlg Dawson Cadillac Co., 214 Ill.App.3d 995, 574 N.E.2d 760 (1st Dist. 1991):

                     In a large and impersonal society, class actions are often the last barricade of consumer
                     protection. . . . To consumerists, the consumer class action is an inviting procedural device to
                     cope with frauds causing small damages to large groups. The slight loss to the individual,
                     when aggregated in the coffers of the wrongdoer, results in gains which are both handsome
                     and tempting. The alternatives to the class action -- private suits or governmental actions -
                     - have been so often found wanting in controlling consumer frauds that not even the ardent
                     critics of class actions seriously contend that they are truly effective. The consumer class

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                      action, when brought by those who have no other avenue of legal redress, provides restitution
                      to the injured, and deterrence of the wrongdoer. (574 N.E.2d at 764, 766)

                      37.     As demonstrated below, each of the requirements for class certification is met.

                      38.     Congress expressly recognized the propriety of a class action under the FDCPA by

              providing special damage provisions and criteria in 15 U.S.C. §§1692k(a) and (b) for FDCPA class

              action cases. As a result, numerous FDCPA class actions have been certified. Phillips v. Asset

              Acceptance, LLC, 736 F.3d 1076 (7`h Cir. 2013); McMahon v. LVNVFfinding, LLC, 807 F.3d 872 (7th

              Cir. 2015); Vines v. Sands, 188 F.R.D. 302 (N.D. Ill. 1999); Nielsen v. Dickerson, 98cv5909, 1999 WL

              350649, 1999 U.S. Dist. LEXIS 8334 (N.D. Ill. May 20, 1999); Sledge v. Sands, 182 F.R.D. 255 (N.D.

              Ill. 1998); Shaver v. Trauner, 97cv1309, 1998 vn, 35333712, 1998 U.S. Dist. LEXIS 19647 (C.D. Ill.

              May 29, 1998) report and recommendation adopted., 1998 WL 35333713, 1998 U.S. Dist. LEXIS 19648

              (C.D. Ill. July 31, 2098); Carroll v. United Compucred Collections, Inc., 1:99cv0152, 2002 WL 31936511,

              2002 U.S. Dist. LEXIS 25032 (M.D. Tenn. Nov. 15, 2002), report and_recommendation adopted in part,

              2003 WL 1903266, 2003 U.S. Dist. LEXIS 5996 (M.D. Tenn. Mar. 31, 2003) gird, 399 F.3d 620 (6th

              Cir. 2005); Wahl v. Midland Credit Mgmt., Inc, 243 F.R.D. 291 (N.D. Ill. 2007); Keele v. Wexler,

              95cv3483, 1996 WL 124452, 1996 U.S. Dist. LEXIS 3253 (N.D. Ill. Mar. 19, 1996), affd, 149 F.3d

              589 (7th Cir. 1998); Miller v. tVexkr & Wexler, 97cv6593, 1998 WL 60798, 1998 U.S. Dist. LEXIS

              1382 (N.D. Ill. Feb. 6, 1998); Wilborn v. Dun & Bradstreet, 180 F.R.D. 347 (N.D. Ill. 1998); Arango v.

              GC Servs., LP, 97cv7912, 1998 WL 325257, 1998 U.S. Dist. LEXIS 9124 (N.D. Ill. June 11, 1998)

              (misleading collection letters); Avila v. Van RR Credit Corp., 94cv3234, 1995 WL 41425, 1995 U.S.

              Dist. LEXIS 461 (N.D. I11. Jan. 31, 1995), aff'd sub nom. Avila v. Rubin, 84 F.3d 222 (7`h Cir. 1996);

              Ramirez. v. Palisades Collection LLC, 250 F.R.D. 366 (N.D.Ill. 2008); Cotton v. Asset Acceptance, 07cv5005,

              2008 WL 2561103,2008 U.S. Dist. LEXIS 49042 (N.D.Ill. June 26, 2008) (class certified); Carr v.

              Trans Union Corp., 94cv0022, 1995 WL 20865, 1995 U.S. Dist. LEXIS 567 (E.D. Pa. Jan. 12, 1995)

              (FDCPA class certified regarding defendant Trans Union's transmission of misleading collection


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              notices to consumers); Colbert v. Trans Union Corp, 93cv6106, 1995 WL 20821, 1995 U.S. Dist. LEXIS

              578 (E.D. Pa. Jan. 12, 1995) (same); Gammon v. GC Services, LP., 162 F.R.D. 313 (N.D. Ill. 1995)

              (similar); Zanni v. Lippold, 119 F.R.D. 32,35 (C.D. Ill. 1988); IVest v. Costen, 558 F. Supp. 564, 572-573

              (W.D. Va. 1983) (FDCPA class certified regarding alleged failure to provide required "validation"

              notices and addition of unauthorized fees); Chegnet Systems, Inc. v. Montgomeg, 322 Ark. 742, 911

              S.W.2d 956 (1995) (class certified in FDCPA action challenging bad check charges); Brewer v.

              Friedman, 152 F.R.D. 142 (N.D. III. 1993) (FDCPA class certified regarding transmission of

              misleading collection demands to consumers), earlier opinion, 833 F. Supp. 697 (N.D. III. 1993);

              Duran v. Credit Bureau of Yuma, Inc., 93 F.R.D. 607 (D. Ariz. 1982) (class certified in action complaining

              of unauthorized charges).

              Numerosity

                      39.     Section 2-801(1) parallels the language of Federal Rule of Civil Procedure 23(a)(1);

              therefore, federal case law is instructive on the numerosity requirements under the Illinois Rules.

              Wood River Area Dev. Corp. v. Germania Fed. Say. & Loan Ass'n, 198 Ill. App. 3d 445, 450, 555 N.E.2d

              1150, 1153 (5th Dist. 1990). The numerosity requirement is satisfied if it is reasonable to conclude

              that the number of members of the proposed class is greater than the minimum number required for

              class certification, which is about 10-40. Ku/ins v. Ma/co, 121 Ill. App. 3d 520, 530, 459 N.E.2d 1038

              (1st Dist. 1984) (19 and 47 members sufficient); Swanson v. American Consumer Industries, 415 F.2d 1326,

              1333 (7th Cir. 1969) (40 class members sufficient); Riordan v. Smith Barmy, 113 F.R.D. 60, 62 (N.D. Ill.

              1986) (10-29 members sufficient).

                      40.     Illinois case law further indicates that "Mlle number of class members is relevant, not

              determinative." Wood River Area Dep. Corp., 198 III. App. 3d at 450, 555 N.E. 2d at 1153. Where the

              class size is smaller, other factors may come into play to demonstrate that joinder is impractical,

              including: (1) geographical spread of class members, (2) ease of identifying and locating class

              members, (3) the knowledge and sophistication of class members and their need for protection, (4)

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              the size of class members' claims, and (5) the nature of the case. Id. at 450-51, 555 N.E. 2d at 1153-

              54.

                      41.     It is not necessary that the precise number of class members be known: "A class

              action may proceed upon estimates as to the size of the proposed class." In re Alcoholic Beverages Lit.,

              95 F.R.D. 321 (E.D.N.Y. 1982); Lewis v. Gross, 663 F.Supp. 1164, 1169 (E.D.N.Y. 1986). The Court

              may "make common sense assumptions in order to find support for numerosity." Evans v. United

              States Pipe 6.- Foundg, 696 F.2d 925, 930 (11th Cit. 1983). "The court may assume sufficient

              numerousness where reasonable to do so in absence of a contrary showing by defendant, since

              discovery is not essential to most cases in order to reach a class determination. . . . Where the exact

              size of the class is unknown, but it is general knowledge or common sense that it is large, the court

              will take judicial notice of this fact and will assume joinder is impracticable." 2 Newbetg on Class

              Actions (3d ed. 1995), §7.22.

                      42.     In the present case, Plaintiff alleges, based on the volume of Defendant's collection

              activity and the use of form letters, that there are more than 40 class members, making them so

              numerous that joinder is impracticable.

                      43.     While discovery will be needed to determine the precise class size, it is reasonable to

              infer that numerosity is satisfied. Wood River Area Dev. Corp., 198 Ill. App. 3d at 450, 555 N.E.2d at

              1153 (concurring with a leading scholar's assertion that a class size of 40 clearly satisfies numerosity

              and that a class size of 25 likely satisfies numerosity); Swiggett v. Watson, 441 F.Supp. 254, 256 (D.Del.

              1977) (an action challenging transfers of title pursuant to Delaware motor vehicle repairer's lien, the

              fact the Department of Motor Vehicles issued printed forms for such transfer was in of itself

              sufficient to show that the numerosity requirement was satisfied); Westcott v. Cagano, 460 F. Supp.

              737, 744 (D.Mass. 1978) (in action challenging certain welfare policies, existence of policies and 148

              families who were denied benefits to which policies applied sufficient to show numerosity, even

              though it was impossible to identify which of 148 families were denied benefits because of policies

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              complained of); Carr a Trans Union Corp., slora (Fair Debt Collection Practices Act class certified

              regarding defendant Trans Union's transmission of misleading collection notices to consumers in

              which court inferred numerosity from the use of form letters); Colbert v. Trans Union Corp., stora

              (same).

              Common Questions and Predominance

                        44.   A common question may be shown when the claims of the individual members of the

              class are based on the common application of a statute or they were aggrieved by the same or similar

              misconduct. McCarthy v. La Salle Nat'l Bank op Trust Co., 230 Ill. App. 3d 628, 634, 595 N.E.2d 149,

              153 (1st Dist.1992).

                        45.   In the present case, the predominant common questions are whether Defendant

              sends personal information to letter vendors and whether such practice violates the FDCPA.

                        46.   Where a case involves "standardized conduct of the defendants toward members of

              the proposed class, a common nucleus of operative facts is typically presented, and the commonality

              requirement. . . is usually met." Franklin v. City of Chicago, 102 F.R.D. 944, 949 (N.D. Ill. 1984).

                        47.   The only individual issue is the identification of the class members, a matter easily

              ascertainable from the files of Defendant.

                        48.    Questions readily answerable from a party's files do not present an obstacle to class

              certification. Heastie v. Cominuniy Bank, 125 F.R.D. 669 (N.D.Ill. 1989) (court found that common

              issues predominated where individual questions of injury and damages could be determined by

              "merely comparing the contract between the consumer and the contractor with the contract between

              the consumer and Community Bank").

              Adequacy of Representation

                        49.   The class action statute requires that the class representative provide fair and adequate

              protection for the interests of the class. That protection involves two factors: (a) the attorney for the

              class must be qualified, experienced, and generally able to conduct the proposed litigation; and (b) the

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              representative must not have interests antagonistic to those of the class. Rosario v. Livaditis, 963 F.2d

              1013, 1018 (7th Cir. 1992).

                      50.     Plaintiff understands the obligations of a class representative, and has retained

              experienced counsel, as is indicated by Exhibit H, which sets forth counsel's qualifications.

                      51.     There are no conflicts between Plaintiff and the class members.

              Appropriateness of Class Action

                      52.     Efficiency is the primary focus in determining whether the class action is an

              appropriate method for resolving the controversy presented. Eovaldi v. First NatThank, 57 F.R.D.

              545 (N.D.Ill. 1972). It is proper for a court, in deciding this issue, to consider the ". . . inability of the

              poor or uninformed to enforce their rights, and the improbability that large numbers of class

              members would possess the initiative to litigate individually." Hegnes v. Logan Furniture Mart, Inc., 503

              F.2d 1161, 1165 (7th Cir. 1974).

                      53.     In this case there is no better method available for the adjudication of the claims

              which might be brought by each individual consumer. The vast majority of consumers are

              undoubtedly unaware that their rights are being violated. In addition, the modest size of the claims

              makes it unlikely that consumers would be able to pay to retain counsel to protect their rights on an

              individual basis.

                      54.     The special efficacy of the consumer class action has been noted by the courts and is

              applicable to this case:

                      A class action permits a large group of claimants to have their claims adjudicated in a single
                      lawsuit. This is particularly important where, as here, a large number of small and medium
                      sized claimants may be involved. In light of the awesome costs of discovery and trial, many
                      of them would not be able to secure relief if class certification were denied . . . .

              In re Folding Carton Antitrust Lit., 75 F.R.D. 727, 732 (N.D.Ill. 1977) (citations omitted)) Another

              court noted:

                      Given the relatively small amount recoverable by each potential litigant, it is unlikely that,
                      absent the class action mechanism, any one individual would pursue his claim, or even be able
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                             to retain an attorney willing to bring the action. As Professors Wright, Miller and Kane have
                             discussed, in analyzing consumer protection class actions such as the instant one, 'typically the
                             individual claims are for small amounts, which means that the injured parties would not be
                             able to bear the significant litigation expenses involved in suing a large corporation on an
                             individual basis. These financial barriers may be overcome by permitting the suit to be
                             brought by one or more consumers on behalf of others who are similarly situated.' 7B
                             Wright et al., §1778, at 59; see e.g., Phillips Petroleum Co. v. Shrifts, 472 U.S. 797, 809 (1985)
                             ('Class actions...may permit the plaintiff to pool claims which would be uneconomical to
                             litigate individually.) The public interest in seeing that the rights of consumers are vindicated
                             favors the disposition of the instant claims in a class action form.

              Lake v. First Nationwide Bank, 156 F.R.D. 615 at 628, 629 (E.D.Pa 1994).

                                                                                             CONCLUSION

                              55.            The Court should certify this action as a class action.



                                                                                               Respectfully submitted,


                                                                                               I sl Daniel A. Edelman
                                                                                               Daniel A. Edelman




              Daniel A. Edelman (ARDC 0712094)
              Dulijaza (Julie) Clark (ARDC 6273353)
              Samuel Park (ARDC 6333176)
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              (312) 739-4200
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              Email address for service: courtecl@edcombs.com

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                                              CERTIFICATE OF SERVICE

                      I, Daniel A. Edelman, certify that on April 2021, I had a copy of this document placed for
              service with the complaint.




                                                           si Daniel A. Edelman
                                                          Daniel A. Edelman




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                Okt;VAME61                                                                                                          1930 OLNEY AVENUE
                EE    E                                                                               —17/          "'"'"-"'""      CHERRY HILL NJ 08003
                                                                                                                                    888-274-9871
         S-SFMRSA11
         PCVSNT00314169 - 637540455 128338                                                                                          Office Hours:
         Return Address:                                                                                                            Monday - Thursday 9am - gpm ET
         MRS BPO, L.L.C.                                                                                                            Friday             9am - 5pm ET
         1930 OLNEY AVENUE
         CHERRY HILL NJ 08003



                 111111111"1111111111t1"11111111"111111111'111111111"11"11111
                 JOANN K LIU
                                                                                                       October 4, 2020

                                                                                                           CREDITOR:
                                                                                                        CREDITOR ACCT#:
                                                                                                          ?ORS ACCTil:  ?1111111111111111111.
                                                                                                         BALANCE DUE:


          Dear JOANN K LIU,

          The above referenced creditor has placed your account with our office for collection. We recognize that sometimes circumstances or events can
          make It difficult to satisfy your financial obligations. Resolving an overdue debt is never easy. Often the hardest part is taking the first step. We
          are ready to assist you to find a solution that is both lair and reasonable by presenting two options that will enable you to resolve your balance
          with


                                                       .-.:SINGLE PAYMENT
                                                                    ,                       MONTHLY
                                                                                                _   PAYMENTS
                                                                                                        •    PLAN
                                                                                                              .

                                                   Make a ONE-TIME payment of            Can't make a settlement right now?
                                                     $2,124.15 by 11/19/2020             We can work with you on a payment
                                                      to resolve your account              plan for the full balance of your
                                                                                                         account.


                                                  If you need additional time to respond to these offers, please contact us.
                                                                We are not obligated to renew these offers.

                          Ready to make a payment, or have a question for us? Choose from any of our available payment or contact




                                                                                                                12
                                  Pay via the Web                                Pay by Phone                               Pay by Mail
                                  https://portal.mrsbp0.coM                      888-274-9871                               MRS BPO, LLC
                                                                                                                            1930 Olney Avenue,
                                                                                                                            Cherry Hill, NJ 08003

                                                               IMPORTANT CONSUMER INFORMATION
          Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion thereof, this office will
          assume this debt is valid. If you notify this office In writing within 30 days after receiving this notice that you dispute the validity of this debt or any
          portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification. If
          you request of this office in writing within 30 days after receiving this notice, this office will provide you with the name and address of the original
          creditor, If different from the current creditor.
          Sincerely,
          MRS Associates of New Jersey
          888-274-9871
          MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
          Letter ID:
                                      This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                                This communication is from a debt collector.




                       MRS ASSOCIATES OF NEW JERSEY I 1930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 888-274-9871
                                    OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
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         S SFMRSA11                                                                                                                     833-924-1978
         P0538000313689 - 644483801 127378                                                                                              Office Hours:
         Return Address:                                                                                                                Monday -Thursday 9am - 9pm ET
         MRS BPO, L.L.C.                                                                                                                Friday             9arn • 5pm ET
         1930 OLNEY AVENUE
         CHERRY HILL NJ 08003

                                                                                                   November 20, 2020
                 hipid.dInsdiusisoolushhoydpid.1100
                                                                                                       CREDITOR:
                JOANN K LIU
                                                                                                    CREDITOR ACCT#:
                                                                                                      MRS ACCT#:
                                                                                                     BALANCE DUE:




          Dear JOANN K LIU,

          We would like to present you with the below cffers to resolve your account. Should you need to speak with a representative, please call
          833-924-1978. We look forward to the opportunity to assist you with resolving your account.


                              SINGLE PAYMENT                  -                MORE TIME?
                                                                        NEED . ._                                     MONTHLY
                                                                                                                         .              PAYMENTS
                                                                                                                                             . .


                         Make a ONE-T1ME payment of               Make TWO PAYMENTS of $807.16              Can't make a settlement right now?
                           $1,189.50 by 12/08/2020                            as follows:                   We can work with you on a payment
                            to resolve your account                   Payment 1 by 12/08/2020                 plan for the full balance of your
                                                                       Payment 2 by 01/08/2021                            account.
                                                                       to resolve your account

                                              If you need additional time to respond to these offers, please contact us.
                                                            We are not obligated to renew these offers.

                         Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.




                                                                                                            2
                                Pay via the Web                              Pay by Phone                                    Pay by Mail
                                https://portal.mrsbpo.com                    833-924-1978                                    MRS BPO, LLC
                                                                                                                             1930 Olney Avenue,
                                                                                                                             Cherry Hill, NJ 08003

          Sincerely,
          MRS Associates of New Jersey
          833-924-1978
          MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
          Letter ID: LU4.5350017.18182589

                                   This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                             This communication is from a debt collector.




                       MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
                               OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
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                                                                                                                                                                                         MRS Associates of New Jersey
                                                                                                                                                                                         1930 OLNEY AVENUE
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PD8VM-160317189 -848588444134338                                                                                                                                                         Office Hours:
Return Address:                                                                                                                                                                          Monday - Thursday 9am - 9pm ET
MRS BPO, L.L.C.                                                                                                                                                                          Friday             9am - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003


                                                                                                                                     December 10, 2020

       JOANN K LIU
                                                                                                                                      CREDITOR ACCT#:
                                                                                                                                        MRS ACCT#:
                                                                                                                                         BALANCE DUE:                         1111111111



 Dear JOANN K LIU,

 We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
 833-924-1978. We look forward to the opportunity to assist you with resolving your account.


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               Make a ONE-T1ME payment of                                  Make TWO PAYMENTS of $764.68                                                 Can't make a settlement right now?
                 $1,104.54 by 12/29/2020                                               as follows:                                                      We can work with you on a payment
                  to resolve your account                                      Payment 1 by 12/29/2020                                                    plan for the full balance of your
                                                                                Payment 2 by 01/29/2021                                                               account.
                                                                                to resolve your account

                                        If you need additional time to respond to these offers, please contact us.
                                                                    We are not obligated to renew these offers.

               Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                       Pay via the Web                                                          Pay by Phone                                                           Pay by Mail
                       https://portal.mrsbpo.com                                                833-924-1978                                                           MRS BPO, LLC
                                                                                                                                                                       1930 Olney Avenue,
                                                                                                                                                                       Cherry Hill, NJ 08003
 Sincerely,
 MRS Associates of New Jersey
 833-924-1978
 MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
 Letter ID: LU4.5350017.18332107
                          This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                    This communication is from a debt collector.
Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 45 of 66 PageID #:48
                                                          FILED DATE: 4/29/2021 3:53 PM 2021C1102090
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4/29/2021
              Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 46 of 66 PageID #:49
2021CH02090
                                                                                                                                                                                            MRS Associates of New Jersey
                                                                                                                                                                                            1930 OLNEY AVENUE
                                                                                                                                                                                            CHERRYHILL NJ-08003
        S-SFMRSA11                                                                                                                                                                          833-924-1978
        PDCX1 000412114 - 648785541124228                                                                                                                                                   Office Hours:
        Return Address:                                                                                                                                                                     Monday. Thursday 9am - 9pm ET
         MRS BPO, L.L.C.                                                                                                                                                                    Friday           9arn - 5pm ET
         1930 OLNEY AVENUE
         CHERRY HILL NJ 08003


                                                                                                                                                                 December 31, 2020
               11111111111111111111`IIII'll'ild1111111111111"1111111111111
               JOANN K LIU                                                                                                                                            CREDITOR:
                                                                                                                                                                   CREDITOR ACCT€1:
                                                                                                                                                                     MRS ACCT#:
                                                                                                                                                                    BALANCE DUE:




          Dear JOANN K LIU,

         We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
         833-924-1978. We look forward to the opportunity to assist you with resolving your account.


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                          Make a ONE-TIME payment of                                   Make TWO PAYMENTS of $679.72                                                       Can't make a settlement right now?
                             $934.62 by 01/15/2021                                                          as follows:                                                   We can work with you on a payment
                             to resolve your account                                                Payment 1 by 01/15/2021                                                 plan for the full balance of your
                                                                                                    Payment 2 by 02/15/2021                                                             account.
                                                                                                     to resolve your account

                                                         If you need additional time to respond to these offers, please contact us.
                                                                       We are not obligated to renew these offers.

                          Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                                    Pay via the Web
                                    https://portal.mrsbpo.com
                                                                                                                  Pay by Phone
                                                                                                                  833-924-1978                                            1:53       Pay by Mail
                                                                                                                                                                                     MRS BPO, LLC
                                                                                                                                                                                     1930 Olney Avenue,
                                                                                                                                                                                     Cherry Hill, NJ 08003

         Sincerely,
         MRS Associates of New Jersey
         833-924-1978
         MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.
         Letter ID: LU4.5350017.18493050
                                        This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                                              This communication is from a debt collector.




                     MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
                             OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
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                                                                                                                                                                        CHERRY HILL NJ 08003
                                                                                                                                                                        833-924-1978
                                                                                                                                                                        Office Hours:
          Return Address:                                                                                                                                               Monday - Thursday 9am - 9pm ET
          MRS BPO, L.L.C.                                                                                                                                               Friday            9am - 5pm ET
          1930 OLNEY AVENUE
          CHERRY HILL NJ 08003


                                                                                                                                     January 21, 2021
                    01H11011101111111111h141h11111102141111111111111811010

                                                                                                                                       CREDITOR:
                                                                                                                                     CREDITOR ACCT#: MIN
                                                                                                                                       MRS ACCT#:
                                                                                                                                      BALANCE DUE: TEM




              Dear JOANN K LIU,
              We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
              833-924-1978. We look forward to the opportunity to assist you with resolving your account.


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                             Make a ONE-TIME payment of                             Make TWO PAYMENTS of $785.92                             Can't make a settlement right now?
                               $1,147.02 by 02/05/2021                                          as follows:                                  We can work with you on a payment
                                to resolve your account                                 Payment 1 by 02/05/2021                                plan for the full balance of your
                                                                                         Payment 2 by 03/05/2021                                           account.
                                                                                         to resolve your account

                                                            If you need additional time to respond to these offers, please contact us.
                                                                          We are not obligated to renew these offers.

                             Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.

                                       Pay via the Web
                                       https://portal.mrsbpo.com
                                                                                                  Pay by Phone
                                                                                                  833-924-1978                               2              Pay by Mail
                                                                                                                                                            MRS BPO, LLC
                                                                                                                                                            1930 Olney Avenue,
                                                                                                                                                            Cherry Hill, NJ 08003
              Sincerely,
              MRS Associates of New Jersey
              833-924-1978
              MRS Associates of New Jersey is a trade name of MRS BPO, L L.C.
                                                                                                                                               Tax time is a great time to put issues like this
                                                                                                                                               behind you. Consider using any possible tax
                                                                                                                                               refund you may receive to satisfy your
                                                                                                                                                                                                       I
              Letter ID: LU4.5350017.18619091                                                                                                  outstanding obligation.

                                           This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                                     This communication is from a debt collector.




                         MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 I 833-924-1978
                                 OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
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                                                                                                                        MRS Associates of New Jersey
                                                                                                                        1930 OLNEY AVENUE         -
                                                                                                                        CHERRY HILL NJ 08003
S-SFMRSAll                                                                                                              833-924-1978
PDK09L00315567 - 653460339131134                                                                                        Office Hours:
Return Address:                                                                                                         Monday- Thursday 9arn - 9pm ET
MRS BPO, L.L.C.                                                                                                         Friday             9am - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003


                                                                                            February 8, 2021
       111.111.11111,11.1111.11116.111111.9111111111.1..1.11111.11.1,1

                                                                                             CREDITOR ACCT#:
                                                                                               MRS ACCT#:
                                                                                              BALANCE DUE:




 Dear JOANN K LIU,

 We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
 833-924-1978. We look forward to the opportunity to assist you with resolving your account.

              •       .     •. . •
                            •.         _                                    ..
                     : SINGLE
                          ..PAYMENT:.
                                  .. .                              •NEED. MORE TIME?                       MONTHLY PAYMENTS

                  Make a ONE-T1ME payment of                 Make TWO PAYMENTS of $700.96            Can't make a settlement right now?
                     $977.10 by 02/24/2021                               as follows:                 We can work with you on a payment
                     to resolve your account                      Payment 1by 02/24/2021               plan for the full balance of your
                                                                  Payment 2 by 03/24/2021                          account.
                                                                  to resolve your account

                                        If you need additional time to respond to these offers, please contact us.
                                                      We are not obligated to renew these offers.

                  Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.



                                                                                                     2
                          Pay via the Web                                Pay by Phone                            Pay by Mail
                          https://portaLmrsbpo.com                       833-924-1978                            MRS BPO, LLC
                                                                                                                 1930 Olney Avenue,
                                                                                                                 Cherry Hill, NJ 08003
 Sincerely,
 MRS Associates of New Jersey                                                                          Tax time is a great time to put issues like this
 833-924-1978                                                                                          behind you. Consider using any possible tax
 MRS Associates of New Jersey is a trade name of MRS BPO, L.L.C.                                       refund you may receive to satisfy your
 Letter ID: LU4.5350017.18748441                                                                       outstanding obligation.

                             This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                       This communication is from a debt collector.




            MRS ASSOCIATES OF NEW JERSEY 11930 OLINIEY AVENUE, CHERRY HILL, NJ 08003 1833-924-1978
                    OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
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Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 51 of 66 PageID #:54
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                                                                                                                                                                       MRS Associates of New Jersey
                                                                                                                                                                  —1830-OLNEY-AVENUE
                                                                                                                                                                       CHERRY HILL NJ 08003
S-SFMRSA11                                                                                                                                                             833-924-1978
PDH3X100219149 - 651120562 t38298                                                                                                                                      Office Hours:
Return Address:                                                                                                                                                        Monday - Thursday 9arn - 9pm ET
MRS BPO. L.L.C.                                                                                                                                                        Friday            9am - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003


                                                                                                                                      January 21, 2021
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                                                                                                                                          CREDITOR:
                                                                                                                                       CREDITOR ACCTM1111111.1
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                                                                                                                                        BALANCE DUE:




 Dear JOANN K LIU,

 We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
 833-924-1978. We look forward to the opportunity to assist you with resolving your account.

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                   Make a ONE-TIME payment of                                     Make TWO PAYMENTS of $785.92                                     Can't make a settlement right now?
                     $1,147.02 by 02/05/2021                                                  as follows:                                          We can work with you on a payment
                      to resolve your account                                         Payment 1 by 02/05/2021                                        plan for the full balance of your
                                                                                       Payment 2 by 03/05/2021                                                   account.
                                                                                       to resolve your account

                                                      If you need additional time to respond to these offers, please contact us.
                                                                    We are not obligated to renew these offers.

                   Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options.




                                                                                                                                                   2
                                Pay via the Web                                                      Pay by Phone                                             Pay by Mail
                                https://portal.mrsbpo.com                                            833-924-1978                                             MRS BPO, LLC
                                                                                                                                                              1930 Olney Avenue,
                                                                                                                                                              Cherry Hill, NJ 08003

 Sincerely,
 MRS Associates of New Jersey                                                                                                                       Tax time is a great time to put issues like this ;
 833-924-1978                                                                                                                                       behind you. Consider using any possible tax i
 MRS Associates of New Jersey is a trade name of MRS BPO, LL.C.                                                                                     refund you may receive to satisfy your 1
 Letter ID: LU4.5350017.18619091                                                                                                                    outstanding obligation.

                                    This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                              This communication is from a debt collector.




               MRS ASSOCIATES OF NEW JERSEY 11930 OLNEY AVENUE, CHERRY HILL, NJ 08003 1833-924-1978
                       OFFICE HOURS: MONDAY - THURSDAY 9AM - 9PM ET I FRIDAY 9AM - 5PM ET
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              Atty. No. 41106
                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                COUNTY DEPARTMENT, CHANCERY DIVISION

              JOANN LIU,
              on behalf of Plaintiff and a class,

                                      Plaintiff,

                      VS.


              MRS BPO, L.L.C.,

                                      Defendant.

                                       DECLARATION OF DANIEL A. EDELMAN
                      Daniel A. Edelman declares under penalty of perjury, as provided for by 735 ILCS 5/1-
              109, that the following statements are true:
                      1.     Edelman, Combs, Latturner & Goodwin, LLC, has 6 principals, Daniel A.
              Edelman, Cathleen M. Combs, Tara L. Goodwin, Julie Clark, Heather Kolbus, and Cassandra P.
              Miller, and four associates. Member James 0. Lattumer retired in 2020.
                      2.       Daniel A. Edelman is a 1976 graduate of the University of Chicago Law
              School. From 1976 to 1981 he was an associate at the Chicago office of Kirkland & Ellis with
              heavy involvement in the defense of consumer class action litigation (such as the General Motors
              Engine Interchange cases). In 1981 he became an associate at Reuben & Proctor, a medium-
              sized firm formed by some former Kirkland & Ellis lawyers, and was made a partner there in
              1982. From the end of 1985 he has been in private practice in downtown Chicago. Virtually all
              of his practice involves litigation on behalf of consumers, through both class and individual
              actions. He is the author of the chapters on the "Fair Debt Collection Practices Act," "Truth in
              Lending Act," and "Telephone Consumer Protection Act" in Illinois Causes ofAction (Ill. Inst.
              For Cont. Legal Educ. 2020 and earlier editions), author of the chapter on the Telephone
              Consumer Protection Act in Federal Deception Law (National Consumer Law Center 2013
              Supp.), author of Collection Litigation: Representing the Debtor (Ill. Inst. Cont. Legal Educ.
              2008, 2011, 2014, 2019), and Collection Litigation: Representing the Debtor (Ill. Inst. Cont.
              Legal Educ. 2014); author of Chapter 5, "Predatory Lending and Potential Class Actions," in
              Real Estate Litigation (Ill. Inst. For Cont. Legal Educ. 2020 and earlier editions), co-author of
              Rosmarin & Edelman, Consumer Class Action Manual (2d-4th editions, National Consumer Law
              Center 1990, 1995 and 1999); author of Representing Consumers in Litigation with Debt Buyers
              (Chicago Bar Ass'n 2008); Predatory Mortgage Lending (Ill. Inst. for Cont. Legal. Educ. 2008,
              2011), author of Chapter 6, "Predatory Lending and Potential Class Actions," in Real Estate
              Litigation (Ill. Inst. For Cont. Legal Educ. 2004, 2008, 2014), Illinois Consumer Law, in
              Consumer Fraud and Deceptive Business Practices Act and Related Areas Update (Chicago Bar
              Ass'n 2002); Payday Loans: Big Interest Rates and Little Regulation, 11 Loy.Consumer
              L.Rptr. 174 (1999); author of Consumer Fraud and Insurance Claims, in Bad Faith and
              Extracontractual Damage Claims in Insurance Litigation, Chicago Bar Ass'n 1992; co-author of
              Chapter 8, "Fair Debt Collection Practices Act," Ohio Consumer Law (1995 ed.); co-author of
              Fair Debt Collection: The Need for Private Enforcement, 7 Loy.Consumer L.Rptr. 89 (1995);

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              author of An Overview of The Fair Debt Collection Practices Act, in Financial Services
              Litigation, Practicing Law Institute (1999); co-author of Residential Mortgage Litigation, in
              Financial Services Litigation, Practicing Law Institute (1996); author of Automobile Leasing:
              Problems and Solutions, 7 Loy.Consumer L.Rptr. 14 (1994); author of Current Trends in
              Residential Mortgage Litigation, 12 Rev. of Banking & Financial Services 71 (April 24, 1996);
              co-author of Illinois Consumer Law (Chicago Bar Ass'n 1996); co-author of D. Edelman and M.
              A. Weinberg, Attorney Liability Under the Fair Debt Collection Practices Act (Chicago Bar
              Ass'n 1996); and author of The Fair Debt Collection Practices Act: Recent Developments, 8
              Loy.Consumer L. Rptr. 303 (1996), among others. Mr. Edelman is also a frequent speaker on
              consumer law topics for various legal organizations including the Chicago Bar Association, the
              National Consumer Law Center's Consumer Rights Litigation Conference, and the Illinois
              Institute for Continuing Legal Education, and he has testified on behalf of consumers before the
              Federal Trade Commission and the Illinois legislature. He is a member of the Illinois bar and
              admitted to practice in the following courts: United States Supreme Court, Seventh Circuit Court
              of Appeals, First Circuit Court of Appeals, Second Circuit Court of Appeals, Third Circuit Court
              of Appeals, Fifth Circuit Court of Appeals, Sixth Circuit Court of Appeals, Eighth Circuit Court
              of Appeals, Ninth Circuit Court of Appeals, Tenth Circuit Court of Appeals, Eleventh Circuit
              Court of Appeals, United States District Courts for the Northern and Southern Districts of
              Indiana, United States District Courts for the Northern, Central, and Southern Districts of
              Illinois, United States District Courts for the Eastern and Western Districts of Wisconsin, and the
              Supreme Court of Illinois. He is a member of the Northern District of Illinois trial bar.
                      3.      Cathleen M. Combs is a 1976 graduate of Loyola University Law School. From
              1984-1991, she supervised the Northwest office of the Legal Assistance Foundation of Chicago,
              where she was lead or co-counsel in class actions in the areas of unemployment compensation,
              prison law, social security law, and consumer law. She joined what is now Edelman, Combs,
              Latturner & Goodwin, LLC in early 1991 and became a named partner in 1993. Ms. Combs
              received an Award for Excellence in Pro Bono Service from the Judges of the United States
              District Court for the Northern District of Illinois and the Chicago Chapter of the Federal Bar
              Association on May 18, 2012. Ms. Combs has argued over fifteen cases in the I", 3rd and 7th
              Circuit Court of Appeals and the Illinois Appellate Court, and she is a frequent speaker on
              consumer law topics at various legal organizations including the Chicago Bar Association, the
              National Consumer Law Center's Consumer Rights Litigation Conferences, and the Practicing
              Law Institute's Consumer Financial Services Institute. Ms. Combs is coauthor of The
              Bankruptcy Practitioner's Guide to Consumer Financial Services Actions After the Subp rime
              Mortgage Crisis (LRP Publications 2010). Her reported decisions include: Suesz v. Med-1
              Solutions, LLC, 757 F.3d 636 (7th Cir. 2014) (en banc); Siwulec v. J.M. Adjustment Servs., LLC,
              465 Fed. Appx. 200 (3d Cir. 2012); Nielsen v. Dickerson, 307 F.3d 623 (7th Cir. 2002);
              Chandler v. American General Finance, Inc., 329 111. App.3d 729, 768 N.E.2d 60 (1st Dist.
              2002); Miller v. McCalla Raymer, 214 F.3d 872 (7th Cir. 2000); Bessette v. Avco Financial
              Services, 230 F.3d 439 (1" Cir. 2000); Emery v. American Gen. Fin., Inc., 71 F.3d 1343 (7th Cir.
              1995); McDonald v. Asset Acceptance, LLC, 296 F.R.D. 513 (E.D.Mich. 2013); and Tocco v.
              Real Time Resolutions, 48 F.Supp.3d 535 (S.D.N.Y. 2014). She is a member of the Illinois bar
              and admitted to practice in the following courts: United States District Courts for the Northern,
              Central and Southern Districts of Illinois, United States District Courts for the Northern and
              Southern Districts of Indiana, Seventh Circuit Court of Appeals, Third Circuit Court of Appeals,
              Fifth Circuit Court of Appeals, and Tenth Circuit Court of Appeals. She is a member of the
              Northern District of Illinois trial bar.
                     4.     James 0. Lafturner (retired 2020) is a 1962 graduate of the University of
              Chicago Law School. Until 1969, he was an associate and then a partner at the Chicago law firm
              of Berchem, Schwanes & Thuma. From 1969 to 1995 he was Deputy Director of the Legal
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              Assistance Foundation of Chicago, where he specialized in consumer law, including acting as
              lead counsel in over 30 class actions. His publications include Chapter 8 ("Defendants") in
              Federal Practice Manualfor Legal Services Attorneys (M. Masinter, Ed., National Legal Aid
              and Defender Association 1989); Governmental Tort Immunity in Illinois, 55 III.B.J. 29 (1966);
              Illinois Should Explicitly Adopt the Per Se Rule for Consumer Fraud Act Violations, 2
              Loy.Consumer L.Rep. 64 (1990), and Illinois Consumer Law (Chicago Bar Ass'n 1996). He has
              taught in a nationwide series of 18 Federal Practice courses sponsored by the Legal Services
              Corporation, each lasting four days and designed for attorneys with federal litigation experience.
              He has argued over 30 appeals, including two cases in the United States Supreme Court, three in
              the Illinois Supreme Court, and numerous cases in the Seventh, Third, Fifth, and Eleventh
              Circuits. Mr. Lattumer was involved in many of the significant decisions establishing the rights
              of Illinois consumers. He is a member of the Northern District of Illinois trial bar.
                       5.     Tara L. Goodwin is a graduate of the University of Chicago (B.A., with general
              honors, 1988) and Illinois Institute of Technology, Chicago-Kent College of Law (J.D., with
              high honors,I991). Ms. Goodwin was Chair of the Chicago Bar Association's Consumer Law
              Committee from 2007 -2010, and she has previously been on the faculty of the Practicing Law
              Institute's Consumer Financial Services Institute in Chicago, speaking on issues relating to the
              Fair Debt Collection Practices Act and mortgage litigation. Ms. Goodwin spoke at the 2016
              Conference on Consumer Finance Law on mortgage servicing issues. Ms. Goodwin has also
              been a frequent speaker at the Chicago Bar Association, speaking on topics such as how to assist
              consumers with credit reporting problems, developments in class action law and arbitration
              agreements in consumer contracts. Reported Cases. Aleksic v. Experian Information Solutions,
              Inc., 13cv7802, 2014 WL 2769122, 2014 U.S. Dist. LEXIS 83086 (N.D.I11. June 18, 2014);
              Taylor v. Screening Reports, Inc., 13cv2886, 2015 WL 4052824, 2015 U.S. Dist. LEXIS 86262
              (N.D.I11. July 2,2015); Williams v. Chartwell Financial Services, Ltd., 204 F.3d 748 (7th Cir.
              2000); Hillenbrand v. Meyer Medical Group, 288 111.App.3d 871, 682 N.E.2d 101 (1st Dist.
              1997), later opinion, 308 111.App.3d 381, 720 N.E.2d 287 (1st Dist. 1999); Bessette v. Avco Fin.
              Servs., 230 F.3d 439 (1" Cir. 2000); Large v. Conseco Fin. Servicing Co., 292 F.3d 49 (1' Cir.
              2002); Flippin v. Aurora Bank, FSB, 12cv1996, 2012 WL 3260449, 2012 U.S. Dist. LEXIS
              111250 (N.D.I11. Aug. 8, 2012); Henry v. Teletrack, Inc., 11cv4424, 2012 WL 769763, 2012
              U.S. Dist. LEXIS 30495 (N.D.I11. March 7, 2012); Kesten v. Ocwen Loan Servicing, LLC, I Icy
              6981, 2012 WL 426933, 2012 U.S. Dist. LEXIS 16917 (N.D.I11. Feb. 9, 2012); Bunton v. Cape
              Cod Village, LLC, 09cv1044, 2009 WL 2139441, 2009 U.S. Dist. LEXIS 57801 (C.D.I11. July 6,
              2009); Wilson v. Harris N.A., 06cvJuly 9, 20205840, 2007 WL 2608521, 2007 U.S. Dist. LEXIS
              65345 (N.D.I11. Sept. 4, 2007); Carbajal v. Capital One, 219 F.R.D. 437 (N.D.I11. 2004); Russo
              v. B&B Catering, 209 F.Supp.2d 857 (N.D.I11. 2002); Romaker v. Crossland Mtg. Co.,
              94cv3328, 1996 WL 254299, 1996 U.S.Dist. LEXIS 6490 (N.D.I11. May 10, 1996); Mount v.
              LaSalle Bank Lake View, 926 F.Supp. 759 (N.D.I111996). Ms. Goodwin is a member of the
              Illinois bar and is admitted in the Seventh, First, and D.C. Circuit Courts of Appeals, and the
              United States District Courts for the Northern and Central Districts of Illinois, and the Northern
              District of Indiana. She is also a member of the Northern District of Illinois trial bar.
                      6.      Julie Clark (ne6 Cobalovic) is a graduate of Northern Illinois University (B.A.,
              1997) and DePaul University College of Law (J.D., 2000). Reported Cases: Ballard RN Center,
              Inc. v. Kohll's Pharmacy and Homecare, Inc., 2015 IL 118644, 48 N.E.3d 1060 (III.Sup.Ct.) ;
              Record-A-Hit, Inc. v. Nat'l. Fire Ins. Co., 377 111. App. 3d 642; 880 N.E.2d 205 (I' Dist. 2007);
              Qualkenbush v. Harris Trust & Savings Bank, 219 F. Supp.2d 935 (N.D.I11. 2002); Covington-
              McIntosh v. Mount Glenwood Memory Gardens, 00cv186, 2002 WL 31369747, 2002 U.S. Dist.
              LEXIS 20026 (N.D.I11., Oct. 21, 2002), later opinion, 2003 WL 22359626, 2003 U.S. Dist.
              LEXIS 18370 (N.D.III. Oct. 15, 2003); Western Ry. Devices Corp. v. Lusida Rubber Prods.,
              06cv52, 2006 WL 1697119,2006 U.S. Dist. LEXIS 43867 (N.D.I11. June 13, 2006); Nautilus
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              Ins. Co. v. Easy Drop Off, LLC, 06cv4286, 2007 U.S. Dist. LEXIS 42380 (N.D.I11. June 4,
              2007); Ballard Nursing Center, Inc. v. GF Healthcare Products, Inc., 07cv5715, 2007 WL
              3448731, 2007 U.S. Dist. LEXIS 84425 (N.D.I11. Nov. 14, 2007); Sadowski v. MedI Online,
              LLC, 07cv2973, 2008 WL 2224892, 2008 U.S. Dist. LEXIS 41766 (N.D.Ill. May 17, 2008);
              Sadowski v. OCO Biomedical, Inc., 08cv3225, 2008 WL 5082992, 2008 U.S. Dist. LEXIS 96124
              (N.D.I11. Nov. 25, 2008); ABC Bus. Forms, Inc. v. Pridamor, Inc., 09cv3222, 2009 WL 4679477,
              2009 U.S. Dist. LEXIS 113847 (N.D.I11. Dec. 1, 2009); Glen Ellyn Pharmacy v. Promius
              Pharma, LLC, 09cv2116, 2009 WL 2973046, 2009 U.S. Dist. LEXIS 83073 (N.D.111. Sept. 11,
              2009); Garrett v. Ragle Dental Lab., Inc., 10cv1315, 2010 WL 4074379, 2010 U.S. Dist. LEXIS
              108339 (N.D.111. Oct. 12, 2010); Garrett v. Sharps Compliance, Inc., 10cv4030, 2010 WL
              4167157, 2010 U.S. Dist. LEXIS 109912 (N.D.111. Oct. 14, 2010).
                      7.     Heather A. Kolbus (neé Piccirilli) is a graduate of DePaul University (B.S. cum
              laude, 1997), and Roger Williams University School of Law (J.D., 2002). Reported Cases:
              Clark v. Experian Info. Solutions, Inc., 8:00cv1217-22, 2004 WL 256433, 2004 U.S. Dist.
              LEXIS 28324 (D.S.C., Jan. 14, 2004); DeFrancesco v. First Horizon Home Loan Corp.,
              06cv0058, 2006 WL 3196838, 2006 U.S. Dist. LEXIS 80718 (S.D.111. Nov. 2, 2006); Jeppesen v.
              New Century Mortgage Corp., 2:05cv372, 2006 WL 3354691, 2006 U.S. Dist. LEXIS 84035
              (N.D.Ind. Nov. 17, 2006); Benedia v. Super Fair Cellular, Inc., 07cv1390, 2007 WL 2903175,
              2007 U.S. Dist. LEXIS 71911 (N.D.I11. Sept. 26, 2007); Gonzalez v. Codilis & Assocs., P.C.,
              03cv2883, 2004 WL 719264, 2004 U.S. Dist. LEXIS 5463 (N.D.111. March 30, 2004); Centerline
              Equipment Corp. v. Banner Personnel Svc., Inc., 07cv1611, 2009 WL 1607587, 2009 U.S. Dist.
              LEXIS 48092 (N.D.111. June 9, 2009); R. Rudnick & Co. v. G.F. Protection, Inc., 08cv1856,
              2009 WL 112380,2009 U.S. Dist. LEXIS 3152 (N.D.I11. Jan. 15, 2009); Pollack v. Cunningham
              Financial Group, LLC, 08cv1405, 2008 WL 4874195, 2008 U.S. Dist. LEXIS 4166 (N.D.I11.
              June 2, 2008); Pollack v. Fitness Innovative Techs., LLC, 08 CH 03430, 2009 WL 506280, 2009
              TCPA Rep. 1858 (Ill. Cir. Ct., Jan. 14, 2009); R. Rudnick & Co. v. Brilliant Event Planning, Inc.,
              No. 09 CH 18924,2010 WL 5774848, 2010 TCPA Rep. 2099 (III. Cir. Ct., Nov. 30, 2010).
                      8.      Cassandra P. Miller is a graduate of the University of Wisconsin - Madison
              (B.A. 2001) and John Marshall Law School (J.D. magna cum laude 2006). Reported Cases:
              Pietras v. Sentry Ins. Co., 513 F.Supp.2d 983 (N.D.I11. 2007); Hernandez v. Midland Credit
              Mgmt., 04cv7844, 2007 WL 2874059,2007 U.S. Dist. LEXIS 16054 (N.D.Ill. Sept. 25, 2007);
              Balogun v. Midland Credit Mgmt, 1:05cv1790, 2007 WL 2934886, 2007 U.S. Dist. LEXIS
              74845 (S.D.Ind. Oct. 5, 2007); Herkert v. MRC Receivables Corp., 655 F. Supp. 2d 870 (N.D.111.
              2008); Miller v. Midland Credit Management, Inc., 08cv780, 2009 WL 528796, 2009 U.S. Dist.
              LEXIS 16273 (N.D.I11. March 2, 2009); Frydman v. Portfolio Recovery Associates, LLC,
              11cv524, 2011 WL 2560221, 2011 U.S. Dist. LEXIS 69502 (N.D.I11. June 28, 2011).
                     9.      Associates:
                             a.      David Kim is a graduate of the University of Illinois (B.A., 2001, M.A.,
              2004) and Illinois Institute of Technology, Chicago-Kent College of Law (J.D., 2010).
                             b.      Carly Cengher is a graduate of the University of Oregon (B.A., 2011),
               the University of California (M.A., 2015), and the University of New Hampshire School of Law
              (J.D. 2019). She is a member of the Illinois Bar.
                              c.   Samuel Park is a graduate of University of Illinois Urbana-Champaign
              (B.A., 2012) and University of California, Irvine School of Law (J.D., 2018). He is a member of
              the Illinois Bar.

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                           d.      Kasun Wijegunawardana is a graduate of Cornell College (B.A. 2010)
              and Loyola University Chicago Law School (J.D., 2019).
                     10.    The firm also has a dozen legal assistants and support staff.
                    Ii.    Since its inception, the firm has recovered more than $500 million for
              consumers. The types of cases handled by the firm are illustrated by the following:
                       12.    Collection practices: The firm has brought numerous cases under the
              Fair Debt Collection Practices Act, both class and individual. Decisions include: Jenkins v.
              Heintz, 25 F.3d 536 (7th Cir. 1994), affd 514 U.S. 291 (1995) (FDCPA coverage of attorneys);
              Suesz v. Med-1 Solutions, LLC, 757 F.3d 636 (7th Cir. 2014)(en banc); Janetos v. Fulton,
              Friedman & Gullace, LLP, 825 F.3d 317 (7`h Cir. 2016); Barbato v. Greystone Alliance, LLC,
              916 F.3d 260 (3d Cir. 2019); Phillips v. Asset Acceptance, LLC, 736 F.3d 1076 (7`hCir. 2013);
              Soppet v. Enhanced Recovery Co., 679 F.3d 637 (7th Cir. 2012); Ruth v. Triumph Partnerships,
              577 F.3d 790 (7'h Cir. 2009); Hale v. Afni, Inc., 08cv3918, 2010 WL 380906, 2010 U.S. Dist.
              LEXIS 6715 (N.D.I11. Jan. 26, 2010); Parkis v. Arrow Fin Servs., 07cv410, 2008 WL 94798,
              2008 U.S. Dist. LEXIS 1212 (N.D.I11. Jan. 8, 2008); Foster v. Velocity Investments, 07cv824,
              2007 WL 2461665, 2007 U.S. Dist. LEXIS 63302 (N.D. Ill. Aug. 24, 2007); Foreman v. PRA
              III, LLC, 05cv3372, 2007 WL 704478, 2007 U.S. Dist. LEXIS 15640 (N.D. III. March 5, 2007);
              Schutz v. Arrow Fin. Services, 465 F. Supp. 2d 872 (N.D.I11. 2006); McMahon v. LVNV
              Funding, LLC, 744 F.3d 1010 (7`h Cir. 2014), later opinion, 807 F.3d 872 (7th Cir. 2015)
              (collection of time-barred debts); Siwulec v. J.M. Adjustment Servs., LLC, 465 Fed. Appx. 200
              (3d Cir. 2012) (activities of mortgage company field agents); Fields v. Wilber Law Firm, P.C.,
              383 F.3d 562 (7th Cir. 2004); Peter v. GC Servs. L.P., 310 F.3d 344 (5`h Cir. 2002); Nielsen v.
              Dickerson, 307 F.3d 623 (761Cir. 2002) (attorney letters without attorney involvement); Boyd v.
              Wexler, 275 F.3d 642 (7'h Cir. 2001); Miller v. McCalla, Raymer, Padrick, Cobb, Nichols, &
              Clark, L.LC., 214 F.3d 872 (7' Cir. 2000); Johnson v. Revenue Management, Inc., 169 F.3d
              1057 (7" Cir.1999); Keele v. Wexler & Wexler, 95cv3483, 1995 WL 549048, 1995 U.S.Dist.
              LEXIS 13215 (N.D.I11. Sept. 12, 1995) (motion to dismiss), later opinion, 1996 WL 124452,
               1996 U.S.Dist. LEXIS 3253 (N.D.I11., March 18, 1996) (class), affd, 149 F.3d 589 (7th Cir.
              1998); Mace v. Van Ru Credit Corp., 109 F.3d 338 (7th Cir. 1997); Maguire v. Citicorp Retail
              Services, Inc., 147 F.3d 232 (2nd Cir. 1998); Young v. Citicorp Retail Services, Inc., 97-9397,
               1998 U.S.App. LEXIS 20268, 159 F.3d 1349 (2nd Cir., June 29, 1998) (unpublished); Charles
              v. Lundgren & Assocs., P.C., 119 F.3d 739 (9th Cir. 1997); Avila v. Rubin, 84 F.3d 222 (7th Cir.
               1996), affg Avila v. Van Ru Credit Corp., 94cv3234, 1994 WL 649101, 1994 U.S. Dist. LEXIS
               16345 (N.D.I11., Nov. 14, 1994), later opinion, 1995 WL 22866, 1995 U.S. Dist. LEXIS 461
              (N.D.111., Jan. 18, 1995), later opinion, 1995 WL 41425, 1995 U.S. Dist. LEXIS 461 (N.D.I11.,
              Jan. 31, 1995), later opinion, 1995 WL 55255, 1995 U.S. Dist. LEXIS 1502 (N.D.I11., Feb. 8,
               1995), later opinion, 1995 WL 683775, 1995 U.S.Dist. LEXIS 17117 (N.D.I11., Nov. 16, 1995);
              Tolentino v. Friedman, 833 F.Supp. 697 (N.D.I11. 1993), affd in part and rev'd in part, 46 F.3d
              645 (7th Cir. 1995); Diaz v. Residential Credit Solutions, Inc., 965 F.Supp.2d 249 (E.D.N.Y.
              2013), later opinion, 297 F.R.D. 42 (E.D.N.Y. 2014), later opinion, 299 F.R.D. 16 (E.D.N.Y.
              2014); Stubbs v. Cavalry SPV I, 12cv7235, 2013 WL 1858587, 2013 U.S. Dist. LEXIS 62648
              (N.D.I11., May 1,2013); Osborn v. J.R.S.-1., Inc.„ 949 F. Supp. 2d 807 (N.D.I11. 2013); Terech v.
              First Resolution Mgmt. Corp., 854 F.Supp.2d 537, 544 (N.D.I11. 2012); Casso v. LVNV Funding,
              LLC, 955 F. Supp. 2d 825 (N.D.I11. 2013); Simkus v. Cavalry Portfolio Services, LLC,
               11cv7425, 2012 WL 1866542,2012 U.S. Dist. LEXIS 70931 (N.D.I11., May 22,2012);
              McDonald v. Asset Acceptance LLC, 296 F.R.D. 513 (E.D.Mich. 2013); Ramirez v. Apex
              Financial Management, LLC, 567 F. Supp.2d 1035 (N.D. III. 2008); Cotton v. Asset Acceptance,
              LLC, 07cv5005, 2008 WL 2561103, 2008 U.S. Dist. LEXIS 49042 (N.D.I11., June 26, 2008);
              Buford v. Palisades Collection, LLC, 552 F. Supp. 2d 800 (N.D.I11. 2008); Martin v. Cavalry
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              Portfolio Servs., LLC, 07cv4745, 2008 WL 4372717, 2008 U.S. Dist. LEXIS 25904 (N.D.I11.,
              March 28, 2008); Ramirez v. Palisades Collection LLC, 250 F.R.D. 366 (N.D.I11. 2008) (class
              certified), later opinion, 07cv3840, 2008 WL 2512679, 2008 U.S. Dist. LEXIS 48722 (N.D.I11.,
              June 23, 2008) (summary judgment denied); Hernandez v. Midland Credit Mgmt., 04cv7844,
              2007 WL 2874059, 2007 U.S. Dist. LEXIS 16054 (N.D.111., Sept. 25, 2007) (balance transfer
              program); Blakemore v. Pekay, 895 F.Supp.972 (N.D.I11. 1995); Oglesby v. Rotche, 93cv4183,
              1993 WL 460841, 1993 U.S.Dist. LEXIS 15687 (N.D.I11., Nov. 5, 1993), later opinion, 1994
              U.S.Dist. LEXIS 4866, 1994 WL 142867 (N.D.I11., April 18, 1994); Laws v. Cheslock,
              98cv6403, 1999 WL 160236, 1999 U.S.Dist. LEXIS 3416 (N.D.I11., Mar. 8, 1999); Davis v.
              Commercial Check Control, Inc., 98cv631, 1999 WL 89556, 1999 U.S. Dist. LEXIS 1682
              (N.D.I11., Feb. 12, 1999); Hoffman v. Partners in Collections, Inc., 93cv4132, 1993 WL 358158,
              1993 U.S.Dist. LEXIS 12702 (N.D.111., Sept. 15, 1993); Vaughn v. CSC Credit Services, Inc.,
              93cv4151, 1994 WL 449247, 1994 U.S.Dist. LEXIS 2172 (N.D.I11., March 1, 1994), adopted,
              1995 WL 51402, 1995 U.S.Dist. LEXIS 1358 (N.D.I11., Feb. 3, 1995); Beasley v. Blatt,
              93cv4978, 1994 WL 362185, 1994 U.S.Dist. LEXIS 9383 (N.D.I11., July 11, 1994); Taylor v.
              Fink, 93 C 4941, 1994 WL 669605, 1994 U.S.Dist. LEXIS 16821 (N.D.I11., Nov. 23, 1994);
              Gordon v. Fink, 93cv4152, 1995 WL 55242, 1995 U.S.Dist. LEXIS 1509 (N.D.I11., Feb. 7,
              1995); Brujis v. Shaw, 876 F.Supp. 198 (N.D.I11. 1995).
                      13.     Jenkins v. Heintz is a leading decision regarding the liability of attorneys under
              the Fair Debt Collection Practices Act. Mr. Edelman argued it before the Supreme Court and
              Seventh Circuit. Avila v. Rubin and Nielsen v. Dickerson are leading decisions on phony
              "attorney letters." Suesz v. Med-I Solutions, LLC is a leading decision on the FDCPA venue
              requirements. McMahon v. LVNTi Funding, LLC is a leading decision on the collection of time-
              barred debts.
                       14.     Debtors' rights. Important decisions include: Ramirez v. Palisades Collection
              LLC, 250 F.R.D. 366 (N.D.111. 2008) (class certified), later opinion, 07cv3840, 2008 WL
              2512679, 2008 U.S. Dist. LEXIS 48722 (N.D.I11., June 23, 2008) (summary judgment denied)
              (Illinois statute of limitations for credit card debts); Parkis v. Arrow Fin Servs., 07cv410, 2008
              WL 94798, 2008 U.S. Dist. LEXIS 1212 (N.D.I11. Jan. 8,2008); Rawson v. Credigy Receivables,
              Inc., 05cv6032, 2006 WL 418665, 2006 U.S. Dist. LEXIS 6450 (N.D.I11., Feb. 16,2006)
              (same); McMahon v. LVNV Funding, LLC, 744 F.3d 1010 (7th Cir. 2014) (collection of time-
              barred debts without disclosure); Jones v. Kunin, 99cv818, 2000 WL 34402017, 2000 U.S. Dist.
              LEXIS 6380 (S.D.I11., May 1, 2000) (scope of Illinois bad check statute); Qualkenbush v. Harris
              Trust & Say. Bank, 219 F. Supp. 2d 935 (N.D.I11. 2002) (failure to allow cosigner to take over
              obligation prior to collection action); Suesz v. Med-1 Solutions, LLC, 757 F.3d 636 (7th Cir.
              2014) (en banc) (venue abuse).
                      15.     Telephone Consumer Protection Act. The firm has brought a number of
              cases under the Telephone Consumer Protection Act, 47 U.S.C. §227, which prohibits "junk
              faxes," spam text messages, robocalls to cell phones, and regulates telemarketing practices.
              Important junk fax and spam text message decisions include: Brill v. Countrywide Home Loans,
              Inc., 427 F.3d 446 (7th Cir. 2005); Sadowski v. Medi Online, LLC, 07cv2973, 2008 WL
              2224892, 2008 U.S. Dist. LEXIS 41766 (N.D.I11., May 27,2008); Benedia v. Super Fair
              Cellular, Inc., 07cv01390, 2007 WL 2903175,2007 U.S. Dist. LEXIS 71911 (N.D.I11., Sept. 26,
              2007); Centerline Equip. Corp. v. Banner Pers. Sem, 545 F. Supp. 2d 768 (N.D.I11. 2008); ABC
              Business Forms, Inc. v. Pridamor, Inc., 09cv3222, 2009 WL 4679477, 2009 U.S. Dist. LEXIS
              113847 (N.D.I11. Dec. 1, 2009); Glen Ellyn Pharmacy, Inc. v. Promius Pharma, LLC, 09cv2116,
              2009 WL 2973046, 2009 U.S. Dist. LEXIS 83073 (N.D.I11. Sept. 11, 2009); Garrett v. Ragle
              Dental Laboratory, Inc., lOcv1315, 2010 WL 3034709, 2010 U.S. Dist. LEXIS, 108339
              (N.D.I11., Aug. 3, 3010).
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                      16.     The firm has also brought a number of cases complaining of robocalling and
              telemarketing abuse, in violation of the Telephone Consumer Protection Act. Decisions in these
              cases include: Soppet v. Enhanced Recovery Co., 679 F.3d 637 (7th Cir. 2012); Balbarin v. North
              Star Capital Acquisition, LLC, lOcv1846, 2011 WL 211013, 2011 U.S. Dist. LEXIS 686
              (N.D.I11. Jan. 21, 2011), motion to reconsider denied, 2011 U.S. Dist. LEXIS 58761 (N.D.III.
              2011); Sojka v. DirectBuy, Inc., 12cv9809 et at., 2014 WL 1089072, 2014 U.S.Dist. LEXIS
              34676 (N.D.I11., Mar. 18, 2014), later opinion, 35 F. Supp. 3d 996 (N.D.I11. 2014). The firm has
              a leadership role in Portfolio Recovery Associates, LLC, Telephone Consumer Protection Act
              Litigation, MDL No. 2295, and Midland Credit Management, Inc., Telephone Consumer
              Protection Act Litigation, MDL No. 2286.
                      17.    Fair Credit Reporting Act: The firm has filed numerous cases under the Fair
              Credit Reporting Act, which include: Henry v. Teletrack, Inc., 11cv4424, 2012 WL 769763,
              2012 U.S. Dist. LEXIS 30495 (N.D.I11. March 7, 2012).
                      18.     Another line of cases under the Fair Credit Reporting Act which we have brought,
              primarily as class actions, alleges that lenders and automotive dealers, among others, improperly
              accessed consumers' credit information, without their consent and without having a purpose for
              doing so permitted by the FCRA. Cole v. U.S. Capital, Inc., 389 F.3d 719 (7th Cir. 2004);
              Murray v. GMAC Mortgage Corp., 434 F.3d 948 (7th Cir. 2006); Perry v. First National Bank,
              459 F.3d 816 (7th Cir. 2006).
                       19.    Class action procedure: Important decisions include McMahon v. LVNV
              Funding,   LLC,  807 F.3d 872 (7th Cir. 2015); Phillips v. Asset Acceptance, LLC, 736 F.3d 1076
              (7th Cir. 2013); Crawford v. Equifax Payment Services, Inc., 201 F.3d 877 (7th Cir. 2000); Blair
              v. Equifax Check Services, Inc., 181 F.3d 832 (7th Cir. 1999); Mace v. Van Ru Credit Corp., 109
              F.3d 338, 344 (7th Cir. 1997); McMahon v. LVNV Funding, LLC, 744 F.3d 1010 (7th Cir. 2014)
              (mootness); Ballard RN Center, Inc. v. Kohll's Pharmacy and Homecare, Inc., 2015 IL 118644,
              48 N.E.3d 1060 (111.5up.Ct.) (mootness), and Gordon v. Boden, 224 111.App.3d 195, 586 N.E.2d
              461 (1st Dist. 1991).
                     20.     Landlord-tenant: The firm has brought more than 20 class actions against
              landlords to enforce tenants' rights. Claims include failing to pay interest on security deposits
              or commingling security deposits. Reported decisions include Wang v. Williams, 343 Ill. App.
              3d 495; 797 N.E.2d 179 (5th Dist. 2003); Dickson v. West Koke Mill Vill. P'Ship, 329 111. App. 3d
              341; 769 N.E.2d 971 (4t Dist. 2002); and Onni v. Apartment Inv. & Mgmt. Co., 344 111. App. 3d
              1099; 801 N.E.2d 586 (2nd Dist. 2003).
                      21.     Mortgage charges and servicing practices: The firm has been involved in
              dozens of cases, mostly class actions, complaining of illegal charges on mortgages and improper
              servicing practices. These include MDL-899, In re Mortgage Escrow Deposit Litigation, and
              MDL-1604, In re Ocwen Federal Bank FSB Mortgage Servicing Litigation, as well as the
              Fairbanks mortgage servicing litigation. Decisions in the firm's mortgage cases include: Hamm
              v. Ameriquest Mortg. Co., 506 F.3d 525 (7th Cir. 2007); Johnson v. Thomas, 342 III.App.3d 382,
              794 N.E.2d 919 (1' Dist. 2003); Handy v. Anchor Mortgage Corp., 464 F.3d 760 (7th Cir.
              2006); Christakos v. Intercounty Title Co., 196 F.R.D. 496 (N.D.I11. 2000); Fhppin v. Aurora
              Bank, FSB, 12cv1996, 2012 WL 3260449 , 2012 U.S. Dist. LEXIS 111250 (N.D.I11. Aug. 8,
              2012); Kesten v. Ocwen Loan Servicing, LLC, 11cv6981, 2012 WL 426933, 2012 U.S. Dist.
              LEXIS 16917 (N.D.I11. Feb. 9,2012); Johnstone v. Bank ofAmerica, NA., 173 F.Supp.2d 809
              (N.D.I11. 2001); Leon v. Washington Mut. Bank, F.A., 164 F.Supp.2d 1034 (N.D.I11. 2001);
              Williamson v. Advanta Mortg. Corp., 99cv4784, 1999 WL 1144940, 1999 U.S. Dist. LEXIS
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              16374 (N.D.I11., Oct. 5, 1999); McDonald v. Washington Mut. Bank, FA., 99cv6884, 2000 WL
              875416, 2000 U.S. Dist. LEXIS 11496 (N.D.I11., June 22, 2000); GNIAC Mtge. Corp. v.
              Stapleton, 236 III.App.3d 486, 603 N.E.2d 767 (1st Dist. 1992), leave to appeal denied, 248
              I11.2d 641, 610 N.E.2d 1262 (1993); Leff v. Olympic Fed. S. & L. Asen, 86cv3026, 1986 WL
              10636 (N.D.I11. Sept. 19, 1986); Aitken v. Fleet Mtge. Corp., 90cv3708, 1991 WL 152533, 1991
              U.S.Dist. LEXIS 10420 (N.D.I11. July 30, 1991), later opinion, 1992 WL 33926, 1992 U.S.Dist.
              LEXIS 1687 (N.D.I11., Feb. 12, 1992); Poindexter v. National Mtge. Corp., 94cv45814, 1995
              WL 242287, 1995 U.S.Dist, LEXIS 5396 (N.D.111., April 24, 1995); Sanders v. Lincoln Service
              Corp., 91cv4542, 1993 WL 1125433, 1993 U.S.Dist. LEXIS 4454 (N.D.I11. April 5, 1993);
              Robinson v. Empire ofAmerica Realty Credit Corp., 90cv5063, 1991 WL 26593, 1991 U.S.Dist.
              LEXIS 2084 (N.D.I11., Feb. 20, 1991); In re Mortgage Escrow Deposit Litigation, M.D.L. 899,
              1994 WL 496707, 1994 U.S.Dist. LEXIS 12746 (N.D.I11., Sept. 9, 1994); Greenberg v. Republic
              Federal S. & L. Ass'n, 94cv3789, 1995 WL 263457, 1995 U.S.Dist. LEXIS 5866 (N.D.I11., May
              1, 1995).
                     22.    The recoveries in the escrow overcharge cases alone are over $250 million. Leff
              was the seminal case on mortgage escrow overcharges.
                      23.     The escrow litigation had a substantial effect on industry practices, resulting in
              limitations on the amounts which mortgage companies held in escrow.
                      24.    Bankruptcy: The firm brought a number of cases complaining that money was
              being systematically collected on discharged debts, in some cases through the use of invalid
              reaffirmation agreements, including the national class actions against Sears and General Electric.
              Conley v. Sears, Roebuck, 1:97cv11149 (D.Mass); Fisher v. Lechmere Inc., 1:97cv3065
              (N.D.III.). These cases were settled and resulted in recovery by nationwide classes. Cathleen
              Combs successfully argued the first Court of Appeals case to hold that a bankruptcy debtor
              induced to pay a discharged debt by means of an invalid reaffirmation agreement may sue to
              recover the payment. Bessette v. Avco Financial Services, 230 F.3d 439 (1st Cir. 2000).
                     25.     Automobile sales and financing practices: The firm has brought many
              cases challenging practices relating to automobile sales and financing, including:
                           a.      Hidden finance charges resulting from pass-on of discounts on auto
              purchases. Walker v. Wallace Auto Sales, Inc., 155 F.3d 927 (7th Cir. 1998).
                             b.     Misrepresentation of amounts disbursed for extended warranties. Taylor
              v. Quality Hyundai, Inc., 150 F.3d 689 (7th Cir. 1998); Grimaldi v. Webb, 282 111.App.3d 174,
              668 N.E.2d 39 (1st Dist. 1996), leave to appeal denied, 169 I11.2d 566 (1996); Slawson v. Currie
              Motors Lincoln Mercury, Inc., 94cv2177, 1995 WL 22716, 1995 U.S.Dist. LEXIS 451 (N.D.I11.,
              Jan. 13, 1995); Cirone-Shadow v. Union Nissan, Inc., 955 F.Supp. 938 (N.D.I11. 1997) (same);
              Chandler v. Southwest Jeep-Eagle, Inc., 162 F.R.D. 302 (N.D.I11. 1995); Shields v. Lefta, Inc.,
              888 F. Supp. 891 (N.D.I11. 1995).
                             c.    Spot delivery. Janikowski v. Lynch Ford, Inc., 98cv8111, 1999 WL
              608714, 1999 U.S. Dist. LEXIS 12258 (N.D.I11., Aug. 5, 1999); Diaz v. Westgate Lincoln
              Mercury, Inc., 93cv5428, 1994 U.S.Dist. LEXIS 16300 (N.D.I11. Nov. 14, 1994); Grimaldi v.
              Webb, 282 111.App.3d 174, 668 N.E.2d 39 (1st Dist. 1996), leave to appeal denied, 169 I11.2d 566
              (1996).
                             d.      Force placed insurance. Bermudez v. First ofAmerica Bank Champion,

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              N.A., 860 F.Supp. 580 (N.D.I11. 1994); Travis v. Boulevard Bank, 93cv6847, 1994 U.S.Dist.
              LEXIS 14615 (N.D.I11., Oct. 13, 1994), modified, 880 F.Supp. 1226 (N.D.I11. 1995); Moore v.
              Fidelity Financial Services, Inc., 884 F. Supp. 288 (N.D.I11. 1995).
                              e.    Improper obligation of cosigners. Lee v. Nationwide Cassell, 174
              111.2d 540, 675 N.E.2d 599 (1996); Taylor v. Trans Acceptance Corp., 267 111.App.3d 562, 641
              N.E.2d 907 (Ist Dist. 1994), leave to appeal denied, 159 I11.2d 581, 647 N.E.2d 1017 (1995);
              Qualkenbush v. Harris Trust & Sav. Bank, 219 F. Supp. 2d 935 (N.D.I11. 2002).
                            f.      Evasion of FTC holder rute. Brown v. LaSalle Northwest Nat? Bank, 148
              F.R.D. 584 (N.D.I11. 1993), later opinion, 820 F.Supp. 1078 (N.D.I11. 1993), later opinion,
              92cv8392, 1993 U.S.Dist. LEXIS 11419 (N.D.I11., Aug. 13, 1993).
                      26.    These cases also bad a substantial effect on industry practices. The warranty
              cases, such as Grimaldi, Gibson, Slawson, Cirone-Shadow, Chandler, and Shields, resulted in
              the Federal Reserve Board's revisjon of applicable disclosure requirements, so as to prevent car
              dealers from representing that the charge for an extended warranty was being disbursed to a third
              party when that was not in fact the case.
                      27.    Predatory lending practices: The firm has brought numerous cases challenging
              predatory mortgage and "payday" lending practices, both as individual and class actions. Jackson
              v. Payday Financial LLC, 764 F.3d 765 (7th Cir. 2014), cert. denied, 135 S.Ct. 1894 (2015);
              Livingston v. Fast Cash USA, Inc., 753 N.E.2d 572 (md. Sup. Ct. 2001); Williams v. Chartwell
              Fin. Servs., 204 F.3d 748 (7th Cir. 2000); Hamm v. Ameriquest Mortg. Co., 506 F.3d 525 (7Ih
              Cir. 2007); Handy v. Anchor Mortg. Corp., 464 F.3d 760 (711' Cir. 2006); Laseter v.
              Climateguard Design & Installation LLC, 931 F.Supp.2d 862 (N.D.I11. 20[3); Hubbard v.
              Ameriquest Mortg. Co., 624 F.Supp.2d 913 (N.D.I11. 2008); Martinez v. Freedom Mortg. Team,
              Inc., 527 F. Supp. 2d 827 (N.D.I11. 2007); Pena v. Freedom Mortg. Team, Inc., 07cv552, 2007
              WL 3223394, 2007 U.S. Dist. LEXIS 79817 (N.D.I11., October 24, 2007); Miranda v. Universal
              Fin. Group, Inc., 459 F. Supp. 2d 760 (N.D.111. 2006); Parker v. 1-800 Bar None, a Financial
              Corp., Inc., 01cv4488, 2002 WL 215530 (N.D.I11., Feb. 12, 2002); Gilkey v. Central Clearing
              Co., 202 F.R.D. 515 (E.D.Mich. 2001); Van Jackson v. Check 'N Go ofIllinois, Inc., 193 F.R.D.
              544 (N.D.I11. 2000), later opinion, 114 F. Supp. 2d 731 (N.D.I11. 2000), later opinion, 123 F.
              Supp. 2d 1079 (N.D.I11. 2000), later opinion, 123 F. Supp. 2d 1085 (N.D.I11. 2000); Henry v.
              Cash Today, Inc., 199 F.R.D. 566 (S.D.Tex. 2000); Donnelly v. Mini Cash Advance, Inc.,
              00cv94, 2000 WL 1161076, 2000 U.S. Dist. LEXIS 11906 (N.D.I11., Aug. 14, 2000); Jones v.
              Kunin, 99cv818, 2000 WL 34402017, 2000 U.S. Dist. LEXIS 6380 (S.D.I11., May 1, 2000);
              Davis v. Cash for Payday, 193 F.R.D. 518 (N.D.I11. 2000); Reese v. Hammer Fin. Corp.,
              99cv716, 1999 U.S. Dist. LEXIS 18812, 1999 WL 1101677 (N.D.I11., Nov. 29, 1999); Pinkett v.
              Moolah Loan Co., 99cv2700, 1999 WL 1080596, 1999 U.S. Dist. LEXIS 17276 (N.D.I11., Nov.
              1, 1999); Gutierrez v. Devon Fin. Servs., 99cv 2647, 1999 U.S. Dist. LEXIS 18696 (N.D.I11.,
              Oct. 6, 1999); Vance v. National Benefit Ass'n, 99cv2627, 1999 WL 731764, 1999 U.S. Dist.
              LEXIS 13846 (N.D.I11., Aug. 26, 1999).
                      28.   Other consunier credit issues: The firm has also brought a number of other
              Truth in Lending and consumer credit cases, mostly as class actions, involving such issues as:
                             a.    Phony nonfiling insurance. Edwards v. Your Credit Inc., 148 F.3d 427
              (5th Cir. 1998); Adams v. Plaza Finance Co., 168 F.3d 932 (7th Cir. 1999); Johnson v. Aronson
              Furniture Co., 96cv117, 1997 U.S. Dist. LEXIS 3979 (N.D.I11., March 31, 1997), later opinion,
              1993 WL 641342 (N.D.I11., Sept. 11, 1998).

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                              b.     The McCarran Ferguson Act exemption. Autry v. Northwest Premium
              Services, Inc., 144 F.3d 1037 (7th Cir. 1998).

                            c.      Loan flipping. Emery v. American General, 71 F.3d 1343 (7th Cir. 1995).
              Emery limited the pernicious practice of "loan flipping," in which consumers are solicited for
              new loans and are then refinanced, with "short" credits for unearned finance charges and
              insurance premiums being given through use of the "Rule of 78s."

                              d.     Home improvement financing practices. Fidelity Financial Services, Inc.
              v. Hicks, 214 III.App.3d 398, 574 N.E.2d 15 (1st Dist. 1991), leave to appeal denied, 141 I11.2d
              539, 580 N.E.2d 112; Heastie v. Community Bank of Greater Peoria, 690 F.Supp. 716 (N.D.I11.
              1989), later opinion, 125 F.R.D. 669 (N.D.I11. 1990), later opinions, 727 F.Supp. 1133 (N.D.I11.
              1990), and 727 F.Supp. 1140 (N.D.I11. 1990).

                              e.     Insurance packing. Elliott v. ITT Corp., 764 F.Supp. 102 (N.D.I11. 1990),
              later opinion, 150 B.R. 36 (N.D.I11. 1992).

                      29.     Automobile leases: The firm has brought a number of a cases alleging illegal
              charges and improper disclosures on automobile leases, mainly as class actions. Decisions in
              these cases include Lundquist v. Security Pacific Automotive Financial Services Corp., 993 F.2d
              11 (2d Cir. 1993); Kedziora v. Citicorp Nat'l Services, Inc., 780 F.Supp. 516 (N.D.I11. 1991),
              later opinion, 844 F.Supp. 1289 (N.D.I11. 1994), later opinion, 883 F.Supp. 1144 (N.D.I11. 1995),
              later opinion, 91cv3428, 1995 U.S.Dist. LEXIS 12137 (N.D.I11., Aug. 18, 1995), later opinion,
              1995 U.S.Dist. LEXIS 14054 (N.D.I11., Sept. 25, 1995); Johnson v. Steven Sims Subaru and
              Subaru Leasing, 92cv6355, 1993 WL 761231, 1993 U.S.Dist. LEXIS 8078 (N.D.I11., June 9,
               1993), and 1993 WL 13074115, 1993 U.S.Dist. LEXIS 11694 (N.D.I11., August 20, 1993);
              McCarthy v. PNC Credit Corp., 2:91CV00854 (PCD), 1992 U.S.Dist. LEXIS 21719 (D.Conn.,
              May 27, 1992); Highsmith v. Chrysler Credit Corp., 18 F.3d 434 (7th Cir. 1994); Simon v. World
              Omni Leasing Inc., 146 F.R.D. 197 (S.D.Ala. 1992).

                      30.     Lundquist and Highsmith are leading cases; both held that commonly-used lease
              forms violated the Consumer Leasing Act. As a result of the Lundquist case, the Federal
              Reserve Board completely revamped the disclosure requirements applicable to auto leases,
              resulting in vastly improved disclosures to consumers.

                       31.    Insurance litigation: Often securing recovery for a class requires enforcement of
              the rights under the defendant's insurance policy. The firm has extensive experience with such
              litigation. Reported decisions in such cases include: Record-A-Hit, Inc. v. Nat'l Fire Ins. Co.,
              377 Ill. App. 3d 642; 880 N.E.2d 205 (1' Dist. 2007); Pietras v. Sentry Ins. Co., 06cv3576, 2007
              WL 715759, 2007 U.S. Dist. LEXIS 16015 (N.D.I11., March 6,2007), later opinion, 513 F. Supp.
              2d 983 (N.D.I11. 2007); Auto-Owners Ins. Co. v. Websolv Computing, Inc., 06cv2092, 2007 WL
              2608559, 2007 U.S. Dist. LEXIS 65339 (N.D.I11., Aug. 31, 2007); National Fire Ins. Co. v.
              Tri-State Hose & Fitting, Inc., 06cv5256, 2007 U.S. Dist. LEXIS 45685 (N.D.I11., June 21,
              2007); Nautilus Ins. Co. v. Easy Drop Off LLC, 06cv4286, 2007 U.S. Dist. LEXIS 42380
              (N.D.I11., June 4, 2007).

                      32.    Some of the other reported decisions in our cases include: Elder v. Coronet Ins.
              Co., 201 Ill.App.3d 733, 558 N.E.2d 1312 (1st Dist. 1990); Smith v. Keycorp Mtge., Inc., 151
              B.R. 870 (N.D.I11. 1992); Gordon v. Boden, 224 I1l.App.3d 195, 586 N.E.2d 461 (1st Dist.
              1991), leave to appeal denied, 144 I1l.2d 633, 591 N.E.2d 21, cert. denied, U.S. (1992);
              Armstrong v. Edelson, 718 F.Supp. 1372 (N.D.I11. 1989); Newman v. 1st 1440 Investment, Inc.,
              89cv6708, 1993 U.S.Dist. LEXIS 354 (N.D.I11. Jan. 15, 1993); Mountain States Tel. & Tel. Co.,

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              v. District Court, 778 P.2d 667 (Colo. 1989); Harman v. Lyphomed, Inc., 122 F.R.D. 522
              (N.D.I11. 1988); Haslam v. Lefta, Inc., 93cv4311, 1994 WL 117463, 1994 U.S.Dist. LEXIS 3623
              (N.D.I11., March 25, 1994); Source One Mortgage Services Corp. v. Jones, 88cv8441, 1994 WL
              13664, 1994 U.S.Dist. LEXIS 333 (N.D.I11., Jan. 13, 1994); Wilson v. Harris N.A., 06cv5840,
              2007 WL 2608521, 2007 U.S. Dist. LEXIS 65345 (N.D.I11. Sept. 4, 2007). Wendorf v. Landers,
              755 F.Supp.2d 972 (N.D.III. 2010); QuickClick Loans LLC v. Russell, 407 III.App.3d 46; 943
              N.E.2d 166 (1st Dist. 2011), pet. denied, 949 N.E.2d 1103 (2011) and Adkins v. Nestle Purina
              Petcare Co., 973 F.Supp.2d 905 (N.D.I11. 2013).
                      33.     Gordon v. Boden is the first decision approving "fluid recovery" in an Illinois
              class action. Elder v. Coronet Insurance held that an insurance company's reliance on lie
              detectors to process claims was an unfair and deceptive trade practice.
              Executed at Chicago, Illinois.

                                                               /s/ Daniel A. Edelman
                                                               Daniel A. Edelman
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              Atty. No. 41106                                             IRIS Y. MARTINEZ
                                                                          CIRCUIT  CLERK
                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS COOK COUNTY, IL
                                COUNTY DEPARTMENT, CHANCERY DIVISION      2021CH02090

              JOANN Lru,                                 )                                     13146796
              on behalf of Plaintiff                     )
              and the class members described herein,    )
                                                         )      2021 CH 2090
                                   Plaintiff,            )
                                                         )
                            VS.                          )
                                                         )
              MRS BPO, L.L.C.                            )
                                                         )
                                   Defendant.            )

                                                NOTICE OF FILING
              TO:    MRS BPO, L.L.C.
                     do Cogency Global Inc.
                     600 South Second St., STE 404
                     Springfield, IL 62704

                      PLEASE TAKE NOTICE, that on Thursday, April 29, 2021, I caused to be filed with
              the Clerk of the Circuit Court of Cook County, Illinois County Department, Chancery Division,
              the following documents: PLAINTIFF'S MOTION FOR CLASS CERTIFICATION, and a
              copy of which is attached hereto and hereby served upon you.

                                                                 s/Daniel A. Edelman
                                                                 Daniel A. Edelman

              Daniel A. Edelman (ARDC 00712094)
              Dulijaza (Julie) Clark (ARDC 6273353)
              Samuel Park (ARDC 6333176)
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              Email address for service: courtecl@edcombs.com
              Atty. No. 41106
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              Case: 1:21-cv-02919 Document #: 1-1 Filed: 06/01/21 Page 66 of 66 PageID #:69




                                             CERTIFICATE OF SERVICE

                     I, Daniel A. Edelman certify that on Thursday, April 29, 2021, I sent a true and accurate
              copy of the foregoing document served with the complaint upon:

                     MRS BPO, L.L.C.
                     c/o Cogency Global Inc.
                     600 South Second St., STE 404
                     Springfield, IL 62704




                                                                 sIDaniel A. Edelman
                                                                 Daniel A. Edelman


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